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     Company and Windsor Willits Company
 9
10
                                 UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
14
15   McLANE COVER, on behalf of himself and     )   Case No.: 3-14-05262 -WHO
     all others similarly situated,             )
16                                              )
                                                )   DEFENDANTS’ REQUEST FOR
17                 Plaintiff,                   )   JUDICIAL NOTICE IN SUPPORT OF
                                                )   MOTION TO DISMISS SECOND
18         vs.                                  )   AMENDED COMPLAINT
                                                )
19                                              )
     WINDSOR SURRY COMPANY and                  )   Date:      November 18, 2015
20   WINDSOR WILLITS COMPANY                    )   Time:      2:00 p.m.
                                                )   Judge:     Hon. William H. Orrick
21                 Defendants.                  )   Courtroom: 2
                                                )
22                                              )
                                                )
23                                              )
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24                                              )
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28



                      Defendants’ Request for Judicial Notice, 14-cv-05262 WHO
             Case 3:14-cv-05262-WHO Document 50 Filed 09/14/15 Page 2 of 58



                                         I.     INTRODUCTION
 1
            Defendants Windsor Surry Company and Windsor Willits Company (“Defendants”)
 2
     request judicial notice of the following documents:
 3
            1)      Exhibit 1 is a true and correct copy of Defendants’ Limited Express Warranty
 4
     from its marketing materials. It only warrants the glue and primer; states that the only remedy is
 5
     replacement of the product; that no other damages, including consequential damages, are
 6
     recoverable; and specifically disclaims all other potential warranties, including the implied
 7
     warranty of merchantability.
 8
            2)      Exhibit 2 is a true and correct copy of a page entitled “Wood Specie Decay
 9
     Resistance” from Defendants’ website in March 2004. This page contains information from the
10
     “Wood Handbook” published by the Forest Products Laboratory, and categorizes wood types by
11
     their decay resistance. This page on Defendants’ website communicated to prospective buyers,
12
     including Plaintiff, that the Radiata pine Defendants used in their products was only “slightly or
13
     nonresistant” to decay.
14
            3)      Exhibit 3 is a true and correct copy of ASTM D2559-04, the 2004 Standard
15
     Specification for Adhesives for Structural Laminated Wood Products for Use Under Exterior
16
     (Wet Use) Exposure Conditions which specifies the standard for adhesives used for structural
17
     laminated wood products for general construction, for marine use, or for other uses where a high-
18
     strength, waterproof adhesive bond is required.
19
            4)      Exhibit 4 is a true and correct copy of ASTM D5572-95, the Standard
20
     Specification for Adhesives Used for Finger Joints in Nonstructural Lumber Products, which
21
     applies to, inter alia, exterior mouldings, window and door component or parts, and bonded-
22
     lumber panels. This standard was effective at the time Plaintiff purchased Defendants’ product.
23
            5)      Exhibit 5 is a true and correct copy of Hoekman v. Tamko Building Products,
24
     2:14-cv-01581-TLN-KJN (E.D. Cal. August 26, 2015), which at the time of this filing was not
25
     yet published on Westlaw.
26
27
28

                               Request for Judicial Notice, 14-cv-05262 WHO
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 1                                            II.    ARGUMENT
 2          Exhibits 1- 4 are judicially noticeable for multiple reasons. First, all the documents are
 3   incorporated by reference into the Second Amended Complaint (“SAC”). Second, Exhibits 1-2
 4   are from Defendants’ website and are publicly available on the internet, so the existence of the
 5   documents and their contents is a matter of public record. Third, Exhibits 3-4 are technical
 6   standards that can be accurately and readily determined, and whose accuracy cannot be
 7   reasonably questioned. Finally, Exhibit 5 is a recently issued judicial opinion from the Eastern
 8   District of California; it is attached to this request for judicial notice for the Court’s convenience,
 9   as it is not yet available on Westlaw.
10         A.     The Court Should Take Judicial Notice of Exhibits 1-4 Because They are
11   Incorporated by Reference Into the Second Amended Complaint.

12          As explained by this Court in City of Dearborn Heights Act 345 Police & Fire

13   Retirement System v. Align Technology, Inc., 2013 WL 6441843, at *5, 12-CV-06039-WHO

14   (N.D. Cal., Dec. 9, 2013):

15          Pursuant to Federal Rule of Evidence 201, documents alleged in a complaint and
            essential to a plaintiff's allegations may be judicially noticed. Steckman v. Hart
16          Brewing, Inc. 143 F.3d 1293, 1295 (9th Cir.1998). “Although generally the scope
17          of review on a motion to dismiss for failure to state a claim is limited to the
            Complaint, a court may consider evidence on which the complaint necessarily
18          relies if: (1) the complaint refers to the document; (2) the document is central to
            the plaintiffs' claim; and (3) no party questions the authenticity of the copy
19
            attached to the 12(b)(6) motion.” Daniels–Hall v. Nat'l Educ. Ass'n, 629 F.3d
20          992, 998 (9th Cir.2010) (internal quotation marks and citation omitted). The
            court may “treat such a document as part of the complaint, and thus may assume
21          that its contents are true for purposes of a motion to dismiss under Rule 12(b)(6).”
            Marder v. Lopez, 450 F.3d 445, 448 (9th Cir.2006). A court may also take
22
            judicial notice of documents on which allegations in the complaint necessarily
23          rely, even if not expressly referenced in the complaint, provided that the
            authenticity of those documents are not in dispute. In re Autodesk, Inc. Sec.
24          Litig., 132 F.Supp.2d 833, 837–38 (N.D.Cal.2000).
25   See also United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (“[E]ven if a document is not
26   attached to a complaint, it may be incorporated by reference into a complaint if plaintiff refers
27   extensively to the document or the document forms the basis of the plaintiff’s claim.”).
28

                               Request for Judicial Notice, 14-cv-05262 WHO
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 1          Here, Plaintiff has incorporated Exhibits 1-4 into the SAC, and the documents form the
 2   basis of all of Plaintiff’s claims. Exhibits 1 and 2 are from Defendants’ website, and are part of
 3   Defendants’ advertising and marketing materials, which Plaintiff repeatedly refers to and quotes
 4   from throughout the SAC. See SAC ¶¶ 31-39 (repeatedly discussing and quoting from
 5   Defendants’ marketing materials). For example, Plaintiff alleges that “Defendants’ [sic]
 6   distributed marketing material including a website, printed materials, and electronic media . . .”
 7   to him. SAC ¶ 66 (emphasis added). Plaintiff alleges that he and his agents were “familiar” with
 8   the marketing materials and that his architect “was very strongly influenced by Defendants’
 9   marketing materials” when the decision to install Defendants’ product was made. SAC ¶¶ 67,
10   69. Plaintiff even makes a list of direct quotes from Defendants’ website and other marketing
11   materials, and expressly realleges and incorporates by reference this list in each and every one of
12   his causes of action. See SAC ¶ 104 (list of ten “marketing representations”) ¶¶ 106, 113, 129,
13   142, 154, 163 (incorporating these allegations by reference into each cause of action). Plaintiff
14   explicitly relies on these statements from Defendants’ website and marketing materials as the
15   basis for his claims. See SAC ¶¶104, 108, 121-25, 131-34 (explicitly alleging that marketing
16   statements and warranties form the basis of various claims). Accordingly, Defendants are
17   entitled to judicial notice of Exhibits 1 and 2 to contextualize the statements that Plaintiff has
18   cherry-picked from Defendants’ marketing materials. See Knievel v. ESPN, 393 F.3d 1068, 1076
19   (9th Cir. 2005) (taking judicial notice of contents of surrounding webpages to a webpage
20   described by plaintiff to contextualize purported defamatory statement).
21          With respect to Exhibit 1—Defendants’ limited express warranty—the incorporation by
22   reference is blatant, as Plaintiff not only discusses the warranties in the SAC, but also brings a
23   causes of action for Breach of Express Warranty. See SAC ¶¶ 59, 67, 88 (citing express
24   warranty); SAC ¶ 139 (cause of action for Breach of Express Warranty premised on Defendants’
25   “10-year express warranty”). Judicial notice is warranted for this reason as well. See also Hoey
26   v. Sony Electronics Inc., 515 F. Supp. 2d 1099, 1103 (N.D. Cal. 2007) (taking judicial notice of
27   warranty because plaintiff’s complaint is based directly on it).
28

                               Request for Judicial Notice, 14-cv-05262 WHO
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 1          Similarly, Exhibits 3 and 4 are incorporated by reference in the SAC and underly
 2   Plaintiff’s assertion that Defendants should have followed Standard D2559 rather than D55-72-
 3   95—an assertion that forms the basis of most of Plaintiff’s product defect claims. SAC ¶¶ 44-45.
 4   Judicial notice of these exhibits is also warranted.
 5         B.    The Court Should Also Take Judicial Notice of Exhibits 1 and 2 Because
 6   They Are Publicly Available On the Internet.

 7          Exhibits 1 and 2 are also judicially noticeable for another independent reason—they are

 8   true and correct copies of pages from Defendants’ website, and therefore their existence is a

 9   matter of public record. Courts may take judicial notice of the existence of publicly available

10   information, including pages on the Internet. For example, this Court has held that the existence

11   of webpages constitute public records subject to judicial notice. See, e.g., Datel Holdings Ltd. v.

12   Microsoft Corp., 712 F. Supp. 2d 974, 983-84 (N.D. Cal. 2010) (granting request for judicial

13   notice in webpages are judicially noticeable “for the fact that they exist”); Wible v. Aetna Life

14   ins. Co., 375 F. Supp. 2d 956, 965 (C.D. Cal. 2005) (taking judicial notice of the website of the

15   American Academy of Allergy Asthma Immunology organization and of the contents of

16   Amazon.com web page describing books related to the case).

17          For these publicly available marketing materials, judicial notice is requested only for

18   their existence and the existence of their contents, but not for the truth of their contents. See,

19   e.g., Rieckborn v. Jefferies LLC, 81 F.Supp.3d 902 (N.D. Cal. 2015) (Orrick, J.).

20          C.     The Court Should Take Judicial Notice of Exhibits 3 and 4 Because They Are
     Established Standards That Can Be Accurately and Readily Determined From Sources
21   Whose Accuracy Cannot Reasonably be Questioned.
22          Finally, Exhibits 3 and 4 are also judicially noticeable because they are established
23   technical standards published by ASTM International (formerly known as the American Society
24   for Testing and Materials). Judicial notice of the standards is appropriate because ASTM
25   publishes the standards, so they can be accurately and readily determined, and their accuracy
26   cannot reasonably questioned. See Fed. R. Evid. 201(b); City of Dearborn Heights, 2013 WL
27   6441843, at *5 (taking judicial notice of accounting standards issued by the Accounting
28   Standards Board); Rieckborn, 81 F.Supp.3d 902 (taking judicial notice of accounting standards

                               Request for Judicial Notice, 14-cv-05262 WHO
                                                      4
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 1   issued by the Financial Accounting Standards Board and the American Institute of Certified
 2   Public Accountants).
 3          D.      The Court Should Take Judicial Notice of Exhibit 5 Because It is a Judicial
 4   Opinion.
 5          Exhibit 5 is a recently issued judicial opinion, Hoekman v. Tamko Building Products,
 6   2:14-cv-01581-TLN-KJN (E.D. Cal. August 26, 2015). At the time of this filing it was not yet
 7   published on Westlaw, and it is attached to this request for judicial notice for the Court’s
 8   convenience.
 9                                         III.    CONCLUSION
10          For the reasons explained above, Defendants respectfully request that the Court take
11   judicial notice of the attached Exhibits 1 through 5.
12
13                                                 Respectfully submitted,

14   Date: September 14, 2015                      KAUFHOLD GASKIN LLP
15
                                                   By: /s/ Jonathan Gaskin
16                                                        Jonathan Gaskin

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                              Request for Judicial Notice, 14-cv-05262 WHO
                                                     5
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                    EXHIBIT 1
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               Recommended Handling, Storage, &
                    Installation Practices

Handling & Storage
WindsorONE is not responsible for changes in our products due to environmental conditions during or after
installation. Until installed, WindsorONE needs protection from direct sunlight, water saturation, dirt and other
elements. WindsorONE should be stored in a dry location off of the ground on blocks and be protected with a
waterproof cover. Do not completely seal the bundle, as good air circulation is required.

Outdoor Installation
All WindsorONE should be installed according to the highest Industry Standards. Windsor Mill endorses the following
practices to promote optimal performance of WindsorONE products.

         •     Avoid marring and scuffing WindsorONE during cutting and handling.

         •     Do not install WindsorONE boards as siding.

         •     All end and edge cuts must be re-coated to help limit water migration which may contribute to swelling,
               grain raise, warping, twisting, cupping, extractive bleeding, and long-term peeling problems.

         •     Avoid miter cuts in exterior applications.

         •     Use high performance acrylic-latex, silicone acrylic, or urethane caulks and sealants to seal end cuts or
               gaps around windows, doors, corners, and other exterior joints that are exposed to potential water
               intrusion.

         •     Wherever possible, avoid three-sided adhesion. The caulk should only adhere to the two surfaces that
               make the crack in the surface plane, not any rigid substrate behind. Backer rod should be inserted in to
               gaps where caulk seals are to be made, and then caulked over.

         •     Use stainless steel or aluminum nails to prevent discoloration. Hot dipped galvanized nails also work
               very well.

         •     Hand nailing is recommended to avoid overdriving nails that can break factory finish seal. Special care
               needs to be taken if you are going to use a nail gun. Precise adjustment of nail depth is very important.

         •     Do not install against cement and install at least 8 inches above the ground level to prevent moisture or
               pest damage.

         •     Trim should be designed to shed water.




                                                                                                         8711 Bell Road
                    a Windsor Mill company                                                                   P.O. Box 39
                                                                                                      Windsor, CA 95492
                                                                                                                      1
                                                                                                     Phone: 888.229.7900
                                                                                                       Fax: 707.838.8704
                                                                                                 www.WindsorONE.com
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         •     Vertical trim pieces should not have exposed end grain.

         •     Use the “Rain Screen” method. Windsor Mill recommends Benjamin Obdyke's Home Slicker.
               Learn more at http://www.benjaminobdyke.com. If Home Slicker cannot be used, substitute
               vertical furring strips.

         •     Columns wrapped in WindsorONE should be constructed to incorporate an “air cavity” between the
               WindsorONE substrate and the underlying core. Ventilation and drain holes need to be included at the
               top and bottoms to ensure proper air flow. E-mail us for column installation instructions.

               Again, follow the Highest Industry Standards.
Indoor Installation
WindsorONE is not responsible for changes in our products due to environmental conditions during or after
installation. The indoor installation of WindsorONE requires special care, as the product should be installed only after
the moisture content of the wood is brought into equilibrium with the internal environment. This can be achieved by
storing the product in the same indoor environment where the product will be installed. The longer the time period
the product is able to stabilize with the internal environment the less potential there is for product shrinking, enlarging,
cupping, or warping after installation. We recommend a minimum of 7 days.

Painting
Apply a topcoat as soon as possible and follow the highest industry wood and paint product practices. Apply paint
according to manufacturers specifications and their recommended spread rates. Do not use paints with vinyl-based
resin combinations. Brush application of primers and top-coats ensures best coverage and protection. For best top-
coat results, apply two coats of a high quality, 100% acrylic latex paint. With WindsorONE Trim, builders have the
flexibility to top-coat up to one year after installation. If WindsorONE material cannot be finished within one year,
clean surface and re-prime with a quality, alkyd-based wood primer.

Recommended Reading:
“The Rehab Guide: Volume 2 - Exterior Walls,” by the U.S. Department of Housing and Urban Development –
Prescribes proper wood products and Regional State codes for construction practices.
“Carpentry: Third Edition,” written by Leonard Koel and published by American Technical Publishers, Inc
“Exterior Finishes for Wood,” written and published by The Forrest Products Laboratory.
Further references can be found on our website’s “Frequently Asked Questions” and “Resources” areas.

Limited Warranty:
Windsor Mill guarantees WindsorONE’s end and edge gluing for 10 years and it’s priming for 5 years. Windsor Mill will
replace, without charge, any WindsorONE product found to be defective within that time. Such replacement is the
exclusive remedy for any defect, with no consequential damages recoverable. See WindsorONE Warranty at
www.WindsorONE.com.

                For any further questions on installation techniques or ideas, please contact
              craig@WindsorONE.com or check out our website at www.WindsorONE.com.



                                                                                                          8711 Bell Road
                   a Windsor Mill company                                                                     P.O. Box 39
                                                                                                       Windsor, CA 95492
                                                                                                      Phone: 888.229.79002
                                                                                                        Fax: 707.838.8704
                                                                                                  www.WindsorONE.com
9/9/2015                                         Windsor One: Builders
                       Case 3:14-cv-05262-WHO Document   50 Filed 09/14/15 Page 10 of 58
                                            http://windsorone.com/warranty.asp?section=Remodeler         Go       MAY DEC FEB

                             15 captures                                                                              20
                          30 Jan 03 ­ 6 Oct 07                                                                    2003 2004 2006




  Home > Remodeler > Product Catalog > Warranty 

                                                                    

  WindsorONE Warranty

  Limited Warranty:
  Windsor Mill guarantees WindsorONE's end and edge­gluing for 10 years and its primer for 5 years. Windsor
  Mill will replace, without charge, any WindsorONE product that installed according to directions and fails to
  meet this warranty within that time. Such replacement is the exclusive remedy for breach of warranty, with
  no consequential or other damages recoverable.

  Warranty Disclaimer:
  Windsor Mill's guarantee is limited to the above Limited Warranty. In Windsor Mill's opinion, its statements
  about WindsorONE products on this website and in printed literature are believed to be accurate, but do not
  constitute separate warranties. There are no warranties, expressed or implied, including merchantability,
  beyond the above Limited Warranty.




http://web.archive.org/web/20041220213731/http://windsorone.com/warranty.asp?section=Remodeler                             1/2
9/9/2015                                         Windsor One: Builders
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                       EXHIBIT 2
Windsor One: Builders                                                        http://web.archive.org/web/20040326134948/http:/www.windsorone.com...
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                                                                                                                                         DEC


                                                                                                                                         2006




         Home > Remodeler > Dealer Locator >

          Wood Specie Decay Resistence




          From the Wood Handbook by The Forest Products Laboratory.

          Resitant or very resistant Moderate Resistant                     Slightly or nonresistant
          Domestic                        Baldcypress, young growth         Alder, red
          Baldcypress, old growth         Douglas-fir                       Ashes
          Catalpa                         Larch, western                    Aspens
          Cedar                           Pine, longleaf, old growth        Beech
          Atlantic White                  Pine, slash, old growth           Birches
          Eastern redcedar                Redwood, young growth             Buckeye
          Incense                         Tamarck                           Butternut
          Northern White                                                    Cottonwood
          Port-Orford                     Pine, eastern white, old growth   Elms
          Western redcedar                                                  Basswood
          Yellow                                                            Firs, true
          Cherry, black                                                     Hackberry
          Chestnut                                                          Hemlocks
          Cypress, Arizona                                                  Hickories
          Junipers                                                          Magnolia
          Locust,                                                           Maples
          Black*                                                            Pines (other than those listed)
          Honeylocust                                                       Spruces
          Mesquite                                                          Sweetgum
          Mulberry, red*                                                    Sycamore
          Oaks, white                                                       Tanoak
          Osage orange*                                                     Willows
          Redwood, old growth                                               Yellow-poplar
          Sassafras
          Walnut, black
          Yew, Pacific*
          Imported
          Aftotmosia                      Andiroba                          Balsa
          Angelique*                      Avodire                           Banak
          Apamate                         Benge                             Cativo
          Azobe*                          Bubinga                           Ceibo
          Balata*                         Ehie                              Hura
          Balau                           Ekop                              Jelutong
          Courbaril                       Keruing                           Limba
          Determa                         Mahogony, Africa                  Meranti, light red
          Goncalo alves*                  Meranti, dark red                 Meranti, yellow
          Greenheart*                     Mersawa                           Meranti, white
          Ipe (Iapacho)*                  Sapele                            Obeche
          Iroko                           Teak, young growth                Okoume
          Jarrah*                         Tornillo                          Parana pine
          kapur                                                             Ramin




1 of 2                                                                                                                         9/3/2015 10:10 AM
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                          Case 3:14-cv-05262-WHO Document 50 Filed 09/14/15 Page 14 of 58
                                                                                                                                            DEC
          Karri                                                                Sande
          Kempas                                                               Sepitir
          Lignumative*                                                         Seraya, white                                                2006
          Mahogany, American
          Manni
          Purpleheart*
          Spanish-cedar
          Sucupira
          Teak, old growth*
          Wallaba

          *exceptionally high decay resistence

          Forest Products Labratory, printed 1999, USA

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2 of 2                                                                                                                            9/3/2015 10:10 AM
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                        EXHIBIT 3
                   CaseThis
                 NOTICE: 3:14-cv-05262-WHO
                            standard has either beenDocument
                                                     superseded 50   Filed 09/14/15
                                                                and replaced              Page or
                                                                               by a new version   16withdrawn.
                                                                                                     of 58
                            Contact ASTM International (www.astm.org) for the latest information.


                    Designation: D2559 – 04



                   Standard Specification for
                   Adhesives for Structural Laminated Wood Products for Use
                   Under Exterior (Wet Use) Exposure Conditions1
                   This standard is issued under the fixed designation D2559; the number immediately following the designation indicates the year of
                   original adoption or, in the case of revision, the year of last revision. A number in parentheses indicates the year of last reapproval. A
                   superscript epsilon (´) indicates an editorial change since the last revision or reapproval.
                   This standard has been approved for use by agencies of the Department of Defense.



1. Scope*                                                                                       D907 Terminology of Adhesives
   1.1 This specification covers adhesives suitable for the                                     D1165 Nomenclature of Commercial Hardwoods and Soft-
bonding of wood, including treated wood, into structural                                         woods
laminated wood products for general construction, for marine                                    D1583 Test Method for Hydrogen Ion Concentration of Dry
use, or for other uses where a high-strength, waterproof                                         Adhesive Films
adhesive bond is required.                                                                      D2555 Practice for Establishing Clear Wood Strength Val-
   1.2 The requirements of the adhesive are based on the                                         ues
performance of the adhesive in laminated wood as measured                                       D3535 Test Method for Resistance to Creep Under Static
by:                                                                                              Loading for Structural Wood Laminating Adhesives Used
   1.2.1 Resistance to shear by compression loading,                                             Under Exterior Exposure Conditions
   1.2.2 Resistance to delamination during accelerated expo-                                    D4442 Test Methods for Direct Moisture Content Measure-
sure to wetting and drying, and                                                                  ment of Wood and Wood-Base Materials
   1.2.3 Resistance to deformation under static load.                                           D4300 Test Methods for Ability of Adhesive Films to
   1.3 The values stated in SI units are to be regarded as the                                   Support or Resist the Growth of Fungi
standard. The values in parentheses are for information only.                                   D5266 Practice for Estimating the Percentage of Wood
   1.4 This standard does not purport to address all of the                                      Failure in Adhesive Bonded Joints
safety concerns, if any, associated with its use. It is the                                     E6 Terminology Relating to Methods of Mechanical Testing
responsibility of the user of this standard to establish appro-                                 E41 Terminology Relating To Conditioning
priate safety and health practices and determine the applica-                                   E691 Practice for Conducting an Interlaboratory Study to
bility of regulatory limitations prior to use.                                                   Determine the Precision of a Test Method

2. Referenced Documents                                                                      3. Terminology
  2.1 ASTM Standards:2                                                                          3.1 Definitions—Many terms in this specification are de-
  D9 Terminology Relating to Wood and Wood-Based Prod-                                       fined in Terminology D907.
    ucts                                                                                        3.2 Definitions of Terms Specific to This Standard:
  D143 Test Methods for Small Clear Specimens of Timber                                         3.2.1 delamination, n—the separation of layers in a lami-
  D905 Test Method for Strength Properties of Adhesive                                       nate because of failure of the adhesive, either in the adhesive
    Bonds in Shear by Compression Loading                                                    itself or at the interface between the adhesive and the adherend.
                                                                                                3.2.2 glulam, n—synonym for structural-glued-laminated
                                                                                             timber.
   1
     This specification is under the jurisdiction of ASTM Committee D14 on
Adhesives and is the direct responsibility of Subcommittee D14.30 on Wood                       NOTE 1—The following ASTM standards may be referred to for other
Adhesives.                                                                                   terms used in this specification: Nomenclature D1165, Terminologies D9,
   Current edition approved May 1, 2004. Published May 2004. Originally                      E6, and E41.
approved in 1966. Last previous edition approved in 2003 as D2559 – 03. DOI:
10.1520/D2559-04.                                                                               3.2.3 laminated wood product, n—a fabricated wood assem-
   2
     For referenced ASTM standards, visit the ASTM website, www.astm.org, or                 bly resulting from the bonding together of two or more
contact ASTM Customer Service at service@astm.org. For Annual Book of ASTM                   laminations, all with the direction of grain essentially parallel,
Standards volume information, refer to the standard’s Document Summary page on
the ASTM website.
                                                                                             to form a larger piece such as a structural member.




                                                *A Summary of Changes section appears at the end of this standard.
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                                                                             D2559 – 04
   3.2.3.1 Discussion—The individual laminations themselves                            9.2 The adhesive must pass the tests required by this
may be made up of two or more pieces both in width and                              specification for all limiting conditions recommended in the
length.                                                                             manufacturer’s bulletin. The information furnished by the
   3.2.4 structural-glued-laminated timber, n—an engineered                         manufacturer should include each of the following for each
stress-rated product of a timber laminating plant comprising                        species of wood included in his recommendations:
assemblies of specially selected and prepared wood lamina-                             9.2.1 Limits of working life,
tions securely bonded together with adhesives, with the fol-                           9.2.2 Minimum and maximum open and closed assembly
lowing characteristics: (1) the grain of all laminations is                         times as dictated by temperature, moisture content of the wood,
approximately parallel longitudinally; and (2) the laminations                      mix age, etc.,
may be comprised of pieces end-joined to form any length, of                           9.2.3 Minimum spread rates for assembly times and use
pieces placed or glued edge-to-edge to make wider ones or of                        conditions as indicated in 9.2.2,
pieces bent to curved form during gluing. (Synonym: glulam)                            9.2.4 Minimum cure time and temperature of bondline for
ANSI/AITC A190.1–1992. American National Standard for                               complete cure,
Wood Products–Structural Glued Laminated Timber (edited to                             9.2.5 Minimum pressure, and
conform with ASTM format).                                                             9.2.6 Maximum and minimum allowable moisture content
                                                                                    of the wood.
4. Significance and Use
                                                                                    10. Selection and Preparation of Wood for Testing of
  4.1 Structural design based on strength of material prin-                              Adhesives
ciples of the structural components, including the adhesive and
the adhesive’s potential durability, requires that the suitability                    10.1 Test the adhesive on the species of wood to be bonded
for structural wet use exposure be predicted.                                       or for which it is recommended including chemically treated
  4.2 Performance of the adhesive for resistance to shear by                        wood (see Note 2). The wood shall have a maximum slope of
compression loading, resistance to delamination during accel-                       grain of 1 in 15 on any face or any edge. The wood shall
erated aging exposure to wetting and drying, and resistance to                      contain no knots larger than 3 mm (1⁄8 in.) in diameter and shall
deformation under load data developed by this test aid in                           be free from decay, machining defects (such as chipped grain,
determining if the adhesive is suitable for structural wet use.                     dubbed ends, feed roll polish, coarse knife marks, and feed roll
                                                                                    compression), and any drying defects such as case hardening,
5. Classification                                                                   collapse, splits, or checks. Use only flat-grained wood.
  5.1 The manufacturer shall classify the adhesive as to                                  NOTE 2—Grouping of species is not permitted.
general type. Typical classifications include: resorcinol,                             10.2 Wood Moisture Content:
phenol-resorcinol, phenol, melamine, etc.                                              10.2.1 Ambient Curing Adhesives—Condition the wood at
  5.2 The manufacturer may be considered to be the testing                          23 6 2°C (73.4 6 3.6°F) and a relative humidity of 50 to 70 %
facility certifying the adhesive.                                                   (preferably 65 %) until a moisture content of 8 to 14 % or,
                                                                                    preferably 9 to 12 %, has been attained.
6. Ordering Information                                                                10.2.2 Hot Press Curing Adhesives—Condition the wood at
  6.1 The manufacturer will furnish the adhesive in any                             23 6 2°C (73.4 6 3.6°F) and a relative humidity of less than
suitable form agreeable to the purchaser.                                           50 % until a moisture content of 3 to 8 % has been attained.
                                                                                       10.3 Freshly surface each lamination before bonding with
7. Fillers and Extenders                                                            the adhesive to be tested. Remove at least 0.4 mm (1⁄64 in.)
   7.1 If amylaceous or protein fillers and extenders are used,                     from each face within 24 h of bonding. The machining
the adhesive must not only pass requirements of this specifi-                       tolerances for each lamination used in preparing the test
cation, but in addition, possess sufficient antifungal properties                   samples shall be no greater than 60.25 mm (0.01 in.) between
to inhibit the growth of selected fungal species when tested in                     laminations and 60.20 mm (0.008 in.) within laminations.
accordance with Test Method D4300. The adhesive manufac-
                                                                                    11. Preparation of Laminated Wood Test Members
turer shall state in his bulletin whether such materials are
present.                                                                               11.1 Ambient-Curing Adhesives:
                                                                                       11.1.1 Prepare six pieces of wood of the same species for
8. Chemical Requirements                                                            each laminated wood member. Each of the six pieces shall have
   8.1 The cured adhesive film shall develop a pH value of not                      a specific gravity equal to or exceeding the minimum require-
less than 2.5 when tested in accordance with Test Method                            ment of Table 1. Each piece of wood shall be 19-mm (0.75-in.)
D1583.                                                                              thick lumber (see Note 3) at least 140 mm (51⁄2 in.) in width
                                                                                    and 1 m (40 in.) long. Orient the direction of the annular
9. Physical Requirements                                                            growth rings when viewed on the end of the laminations in the
                                                                                    laminated wood test member so that they are alternated.
   9.1 The adhesive manufacturer shall furnish written instruc-
tions stating the general chemical type of adhesive, its storage                      NOTE 3—This thickness would normally come from “nominal 1-in.
and mixing procedure, the method of wood preparation, and                           lumber.”
any other data which is pertinent to the use of the adhesive in                      11.1.1.1 If equipment prevents the preparation of laminated
the manufacture of laminated wood products.                                         wood test members 1 m (40 in.) in length, prepare duplicate

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                                                                             D2559 – 04
                                    TABLE 1 Required Shear Strength for Structural Laminated Wood Products
   NOTE 1—For species other than those given, strength values shall be based on 90 % of the value for shear parallel to grain at 12 % moisture content.
The use of 90 % of shear parallel to grain at 12 % moisture content takes into account the various subspecies of a particular wood species. The values
for shear parallel to grain may be found in Tables 4-3a through 4–4b of the Wood Handbook, Forest Products Society (1999 edition). Base the minimum
allowable specific gravity on volume for wood at 12 % moisture content. For species not listed see Note 3. Adjustments for changes in moisture content
shall be made in accordance with formula 4–3 (page 4–34) found in the 1999 Wood Handbook.
   NOTE 2—It has been documented that bonded shear specimens (Test Method D905 type specimen) on the average provide higher shear strength values
than solid wood specimens (Test Methods D143 type specimen). It may appear to be inconsistent to compare shear strength data of bonded specimens
to data based on 90 % of the solid wood shear strength found in the Wood Handbook. However, the goal of evaluating shear strength of adhesives in
Specification D2559 is to demonstrate the shear strength in a laminated product (tested using Test Method D905 type specimens) meets or exceeds the
strength of a solid wood beam when tested by standard procedures for solid wood (Test Methods D143 type specimen).
   NOTE 3—For species not found in the 1999 Wood Handbook, values for shear parallel to grain at 12 % moisture content using solid wood are to be
obtained on clear, straight-grained specimens following specific ASTM test methods and procedures. These include Test Methods D143 and D2555. Test
Methods D143 testing is to be performed on a minimum of 28 shear strength specimens.
                                                                 Required Shear Strength, KPa (psi)A                               Minimum Allowable Specific
              Species                                             Moisture Content of Wood at Test                                 Gravity of Solid Wood Used
                                                  8%                           12 %                            16 %                   for Each LaminationB

   Douglas fir                               7 600 (1 110)                  7   000   (1    020)          6   500        (940)                 0.43
   Hemlock, western                          8 900 (1 290)                  8   000   (1    160)          7   200   (1    050)                 0.41
   Larch, western                            9 400 (1 370)                  8   400   (1    220)          7   600   (1    100)                 0.55
   Oak, white                               14 300 (2 080)                 12   400   (1    800)         11   000   (1    560)                 0.68
   Pine, southern                           10 400 (1 510)                  8   600   (1    250)          7   100   (1    040)                 0.51
   Redwood                                   6 300 (910)                    5   800        (850)          5   400        (790)                 0.40
  A
    Based on 90 % of the shear strength parallel to grain at 12 % moisture content from Table 4–3 of the 1999 Wood Handbook. Use the same shear strength values for
a specific species when chemically treated wood is used.
  B
    Based on weight when oven dry and volume at 12 % moisture content.


610-mm (24-in.) laminated wood members to obtain at least an                          the manufacturer of the adhesive. These three-layer assemblies,
equivalent number of test specimens.                                                  after conditioning in accordance with 11.1.4, are assembled
   11.1.2 Apply the adhesive uniformly to the contacting faces                        into six laminated wood test members using a Specification
of each lamination in accordance with the manufacturer’s                              D2559 approved ambient-curing adhesive for the center bond-
instructions.                                                                         line in accordance with 11.1.3.
   11.1.3 Place the laminated wood members under pressure                                11.2.4 Conditioning—Condition the laminated wood mem-
for a period of time and at the bondline temperature specified                        bers at 23 6 2°C (73.4 6 3.6°F) and a relative humidity of 50
by the manufacturer of the adhesive.                                                  to 70 % (preferably 65 %) for the minimum time recom-
   11.1.4 Conditioning—Condition the laminated wood mem-                              mended by the manufacturer for each curing temperature used
bers at 23 6 2°C (73.4 6 3.6°F) and a relative humidity of 50                         during the pressure period, and test immediately.
to 70 % (preferably 65 %) for the minimum time recommended
by the manufacturer for each curing temperature used during                           12. Number of Tests
the pressure period, and test immediately.                                               12.1 Prepare six laminate wood members for tests, one at
   11.2 Hot-Press Curing Adhesives:                                                   each of the limiting conditions listed, but all other factors, as
   11.2.1 Prepare six pieces of wood of the same species for                          itemized in 9.1 and 9.2, shall be in accordance with the
each laminated test member. Each of the six pieces shall have                         manufacturer’s instructions.
a specific gravity equal to or exceeding the minimum require-                            12.1.1 Liquid adhesives:
ment of Table 1. Each piece of wood shall be 19 mm (0.75 in.)                            12.1.1.1 Minimum open assembly time with minimum
thick lumber (see Note 4) at least 140 mm (51⁄2 in.) in width                         closed assembly time,
and 1 m (40 in.) long as allowed in 11.1.1.1. Orient the                                 12.1.1.2 Maximum open assembly time with maximum
direction of the annular growth rings when viewed on the end                          closed assembly time, and
of the laminations in the laminated wood test member so that                             12.1.1.3 Minimum open assembly time with maximum
they are alternated.                                                                  closed assembly time.
  NOTE 4—This thickness would normally come from “nominal 1 in.                          12.1.2 Film adhesives:
lumber.”                                                                                 12.1.2.1 Minimum cure time,
  11.2.1.1 If equipment prevents the preparation of laminated                            12.1.2.2 Minimum cure temperature, and
wood test members 1 m (40 in.) in length, prepare duplicate                              12.1.2.3 Minimum pressure.
610 mm (24 in.) laminated wood members to obtain at least an
equivalent number of test specimens.                                                  13. Preparation of Test Samples
  11.2.2 Apply the adhesive uniformly to the contacting faces                           13.1 Dress the laminated wood members, prepared in ac-
of each lamination in accordance with the manufacturer’s                              cordance with Sections 11 and 12, on the sides to a uniform
instructions.                                                                         width of 127 mm (5 in.) at the completion of the conditioning
  11.2.3 Hot press three-layer assemblies at the pressure,                            period. Trim 76 mm (3 in.) off one end of each of these
press temperature, and to the bondline temperature specified by                       members and discard it. Cut the remaining trimmed members

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into five sections as shown in Fig. 1. Use the 102–mm (4–in.)                       samples and cut at least five test specimens from each as
sections labeled “A” for conducting tests in resistance to shear                    specified by the dimensions of Figs. 2 and 3 of Test Method
by compression loading in accordance with Section 14, and use                       D905.
the 254-mm (10-in.) sections labeled “B” for conducting                                14.2.2 The stair-step shear specimens shall conform to the
resistance to delamination tests in accordance with Section 15.                     form and dimensions shown in Fig. 2. Take care in preparing
Discard the remaining waste trim portion.                                           the test specimens to assure that the grain direction in the wood
   13.1.1 If duplicate laminated wood members are made in                           is parallel to the direction of loading during test. The loaded
accordance with 11.1.1.1 or 11.2.1.1 to obtain at least an                          surfaces shall be smooth and parallel to each other and
equivalent number of test specimens, then trim 51 mm (2 in.)                        perpendicular to the height. When sawing the bonded assem-
off each end. Utilize the remaining trimmed member, 508 mm                          bly, exercise care to ensure that the saw cuts to, but not beyond,
(20 in.) in length by cutting two 254-mm (10-in.) sections                          the adhesive line. Measure the width and height of the
labeled “B” or one 254-mm section “B” and two 102-mm                                specimen at the adhesive line to the nearest 0.25 mm (0.01 in.)
(4-in.) sections “A” as shown in Fig. 1. If two “B” sections are                    to determine the shear area. All requirements above shall apply
prepared then make separate specimens for shear testing by                          when individual test specimens are cut from the separately
preparing two-layer laminated wood members and specimens                            laminated test members of Test Method D905.
in accordance with Test Method D905. Make and test these                               14.2.3 Condition the individual test specimens in the con-
specimens from the same species of wood, at exactly the same                        ditioning environment described in 11.1.4 and 11.2.4 to a target
time, and under the same conditions as required for other test                      moisture content of 8, 12, or 16 % for species listed in Table 1.
samples in this specification.                                                      For all other species condition to a target moisture content of
                                                                                    12 %. The allowable variation in the target moisture content
                          TEST METHODS
                                                                                    before testing is 61 %. Moisture content is to be determined
14. Resistance to Shear by Compression Loading                                      using Test Methods D4442.
                                                                                       14.3 Test the test specimens cut from the test samples
   14.1 Apparatus—The testing machine capacity is to be of
                                                                                    described in 14.2 to failure. Report the shear strength calcu-
about 66900 N (15 000 lb) in compression or of sufficient
                                                                                    lated in kilopascals (kPa) (pounds per square inch (psi)) based
capacity to test the species of wood in use. Equip the testing
                                                                                    on the bonded area between two laminations rounded to the
machine with a shearing tool containing a self-aligning seat to
                                                                                    nearest 0.0645 mm2 (0.01 in.2), for each test specimen together
ensure uniform lateral distribution of the load. The machine
                                                                                    with the estimated percentage wood failure. Practice D5266
shall be capable of maintaining a uniform rate of loading such
                                                                                    has been found useful in estimating the percentage of wood
that the load is applied with a continuous motion of the
                                                                                    failure in adhesive bonded joints.
movable head to a maximum rate load not to exceed 13-mm
(0.50-in.)/min. The shearing tool shown in Fig. 1 of Test                              14.4 Requirements:
Method D905 has been found satisfactory. Locate the testing                            14.4.1 The average shear strength for each group of lami-
machine in an atmosphere such that the moisture content of the                      nated wood members made at one manufacturing condition as
test pieces developed in accordance with 11.1.4 is not notice-                      specified in Section 12, and tested as described above shall be
ably altered during testing.                                                        not less than the values specified in Table 1 at the appropriate
   14.2 Samples:                                                                    moisture content of the wood.
   14.2.1 Prepare at least six samples for testing in shear by                         14.4.2 The average wood failure for each group of lami-
compression loading. When stair-step shear samples are used,                        nated wood members made at one condition and tested as
cut two from each of the 102–mm (4–in.) sections labeled “A”                        prescribed in Section 14 shall be not less than 75 % for all
in Fig. 1. When separate laminated wood samples are made in                         species listed in Table 1.
accordance with 11.1.1.1 or 11.2.1.1 make at least six test                            14.5 Retest:




                                                                FIG. 1 Laminated Test Beam

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                                                                             D2559 – 04
                                                                                    bondlines on each end grain face is 635 mm (25 in.). On six
                                                                                    specimens this equals 7620 mm (300 in.). Test eighteen
                                                                                    specimens (six from each of three laminated wood test mem-
                                                                                    bers prepared in accordance with Sections 11, 12, and 13 to
                                                                                    certify each adhesive on each species of wood to be laminated.
                                                                                       15.2.2 For hot-press curing adhesives prepare eight delami-
                                                                                    nation specimens (four from each 610 mm (24 in.) laminated
                                                                                    wood member as allowed in 13.1.1) with dimensions as
                                                                                    specified in 15.2.1. In order to achieve the required 7620 mm
                                                                                    (300 in.) of test bondlines (as specified in 15.2.1) with
                                                                                    hot-pressed laminated wood members, the end grain faces of
                                                                                    7.5 specimens are required. Thus for hot-press curing adhe-
                                                                                    sives, four test bondlines 508 mm (20 in.) on each end grain
                                                                                    face of 8 specimens will be examined for a total of 8128 mm
                                                                                    (320 in.). Test twenty four specimens (four from each of six
                                                                                    laminated wood test members prepared in accordance with
                                                                                    Sections 11-13) to certify each adhesive on each species of
                                                                                    wood to be laminated.
                                                                                       15.3 Procedure:
                                                                                       15.3.1 Weigh and record to the nearest 1 g (0.035 oz) the
                                                                                    weight of each test specimen. Place the eighteen 76-mm (3-in.)
                                                                                    test specimens in the pressure vessel described in 15.1.1, weigh
                                                                                    down, and admit water at a temperature of 18 to 27°C (65 to
                                                                                    80°F) in sufficient quantity so that the specimens are com-
                                                                                    pletely submerged throughout the test. Separate the test speci-
                                                                                    mens by stickers, wire screens, or other means in such a
                                                                                    manner that all end grain surfaces are freely exposed to the
                                                                                    water. Draw a vacuum of at least 85 kPa (25 in.) Hg (sea level)
                  FIG. 2 Stair-Step Shear Specimen                                  and hold for 5 min. Release the vacuum and apply pressure of
                                                                                    517 6 14 kPa (756 2 psi) for 1 h. Repeat the vacuum-pressure
                                                                                    cycle with the test specimens remaining submerged, making a
  14.5.1 If the strength requirements of 14.4 are not satisfied,                    two-cycle impregnating period requiring a total of approxi-
but the wood failure value is 95 % or more, retest the adhesive.                    mately 21⁄6 h (Note 5). Dry the test specimens in the oven
                                                                                    described in 15.1.2 at 65.5 6 2°C (150 6 3.6°F) for a period
15. Resistance to Delamination During Accelerated
                                                                                    of between 21 and 22 h, with sufficient air circulation to lower
     Exposure
                                                                                    their weight to within 15 % of the original test specimen
   15.1 Apparatus:                                                                  weight. During drying, place the test specimens at least 51 mm
   15.1.1 An autoclave or similar pressure vessel capable of                        (2 in.) apart with the end-grain surfaces parallel to the stream
withstanding at least 550 kPa (80 psi) is required for impreg-                      of air. This completes the first cycle.
nating the specimens with water. Equip the vessel with a
vacuum pump or similar device capable of drawing vacuum of                            NOTE 5—This should increase the weight of the test specimens by at
                                                                                    least 50 %. If the weight is not increased by this amount, continue this
at least 85 kPa (25 in.) Hg (sea level) in the vessel and provide                   cycle until the weight has increased at least 50 %.
a method for obtaining pressures to 517 kPa (75 psig). Equip
the vessel with a steam inlet capable of providing steam at                           15.3.2 Return the specimens to the pressure vessel and
100°C (212°F) for 11⁄2 h.                                                           admit steam at 100°C (212°F) for 11⁄2 h, with drains open so
   15.1.2 An oven capable of maintaining 65.5 6 2°C (150 6                          the wet condensate is removed as formed, after which admit
3.6°F) with sufficient circulation to remove moisture from the                      water at 18 to 27°C (65 to 80°F) and apply a pressure of 517
chamber is required for drying the specimens.                                       6 14 kPa (75 6 2 psi) for 40 min. Dry the specimens in the
   15.1.3 Circular fluorescent desk lamp with 53 viewing                            oven as above. This completes the second cycle.
magnifier in the center of the lamp. Equivalent light sources                         15.3.3 Repeat the first cycle, making a total test period of 3
and magnifier may be substituted for the above.                                     days. Record the data as outlined in 15.4.1.
   15.1.4 Machinist’s scale graduated in 0.01 and 0.10 divi-                          15.4 Requirements:
sions.                                                                                15.4.1 At the end of the final drying period specified in
   15.2 Samples:                                                                    Section 15, visually examine each specimen. Immediately
   15.2.1 For ambient-curing adhesives prepare six delamina-                        measure, to the nearest 1.27 mm (0.05 in.), the total length of
tion specimens representing three from each 254-mm (10-in.)                         open joints (delamination) on each end-grain surface of each
section labeled “B” in Fig. 1. Cut each 254-mm section into                         specimen and record in Table 2. Do not record as delamination
three 76-mm (3-in.) specimens with the 76-mm dimension                              any failure in the wood due to checking or small isolated knots.
parallel to the grain direction in the wood. The total length of                    Do not record any delamination that is less than 2.54 mm (0.10

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                                                                                D2559 – 04
                                                              TABLE 2 ASTM D2559 Test Results
Adhesive:
Assembly time:
Species:
Softwood:
Hardwood:


                       Measured Delamination Length
                                                                                                                                    Allowable            Allowable
                         By Specimen Number, in.A
                                                                   Bond Line            Bond Line             Calculated           Delamination         Delamination
  Bond Line       1   2    3   4    5    6     7E       8E      Delamination, in.B      Length, in.C       Delamination, %D        Softwood, %          Hardwood, %
       A                                                                                      1                   1.6
       B                                                                                      1                   1.6
       C                                                                                      1                   1.6
       D                                                                                      1                   1.6
       E                                                                                      1                   1.6

  A
    Sum of both end grain surfaces for each bond line.
  B
    Sum of delamination for both end grain surfaces of all specimens for each bond line.
  C
    Sum of end grain bond line length of all the specimens.
 D
    Bond line delamination (total delamination length in the bond line of all specimens) divided by bond line length (total length of all the bond lines of all specimens)
multiplied by 100.
 E
    Used only for hot pressing adhesives.


in.) in length and more than 5 mm (0.20 in.) away from any                             218.2-kg (480-lb) total load or 1655 kPa (240 psi). Expose two
recordable delamination. Record as delamination, any failure                           specimens to an environment of 71°C (160°F) at ambient
where shallow wood failure is noted and no other factors                               humidity and the other two at 27°C (80°F) at 90 % relative
related to the wood, such as grain angle and growth-ring                               humidity. The exposure period shall be 7 days in both cases.
structure, are influencing the delamination. Do not include as                           16.2 Measurement—At the end of the exposure period,
delamination, any failure where a significant amount of wood                           measure the total length of slippage (deformation) to the
failure is noted and which is influenced by factors such as grain                      nearest 0.127 mm (0.005 in.). Add the total deformation for
angle or growth-ring structure. Measure and record in Table 2                          both test specimens of each variable combination and report in
the total length of end grain bond line for each of the                                milimetres (inches).
specimens. For total delamination length, add together the                               16.3 Requirement—The total deformation shall not exceed
recorded delamination for each bond line on the two end-grain                          3.63 mm (0.139 in.) for the two specimens combined from
surfaces of all the specimens. Report as percent delamination,                         each variable combination. If either variable combination
the total delamination length in each bond line of all the                             exceeds the allowable limit, the adhesive has failed.
specimens divided by the total length of all the bond lines of all                       16.4 Retest—If the deformation requirements of 16.3 are
specimens multiplied by 100 and record in Table 2 (see Note                            not satisfied, but the wood failure is 95 % or more, retest the
7). The delamination for each manufacturing condition (see                             adhesive.
Section 12) shall not exceed 1 % for any bond line in the
laminated test member for softwoods or 1.6 % for hardwoods.                            17. Report
Table 2 is provided to record all measurements and calculate                              17.1 The report shall include the following:
percent delamination.                                                                     17.1.1 Identification of the adhesive used by class, number,
  NOTE 6—In order to ensure that the core moisture content will exceed                 or manufacturer’s mark.
the shell moisture content and thus hold the delamination open and visible,               17.1.2 Application and bonding conditions used for the
the laminated wood test specimens shall be removed from the final drying               specimens.
cycle in the oven, as prescribed in 15.3.1, when the final weight of each
specimen is not less than 1.15 nor more than 1.25 times the weight before
                                                                                          17.1.3 Wood species evaluated and if not listed in Table 1
original treatment.                                                                    the adjusted (90 %) shear strength parallel to grain at 12 %
  NOTE 7—For hot-pressed adhesives the center bondline is evaluated as                 moisture content. Report whether from the Wood Handbook or
well as the test bondlines to ensure that the Specification D2559                      from testing following guidance in Note 3 in Table 1.
ambient-curing adhesive performs as expected.                                             17.1.4 Wood preparation and conditioning including spe-
  15.5 Retest—If the requirements of 15.4.1 are not satisfied                          cific gravity and moisture content at time of bonding.
in any one laminated wood member, including the center                                    17.1.5 Temperature and relative humidity at time of bond-
bondline of a hot-pressed laminated test member, then test one                         ing.
additional member. If all the requirements are met in retest,                             17.1.6 Number of specimens tested.
disregard the results of the original test.                                               17.1.7 Number of laminated wood members represented.
                                                                                          17.1.8 Maximum and minimum values obtained. Include
16. Resistance to Deformation Under Static Loading                                     the standard deviation or all individual test values, or both, in
  16.1 Procedure—Test the adhesive in accordance with Test                             the report at the option of either the purchaser or the manu-
Method D3535 using four multijoint specimens, each loaded to                           facturer of the adhesive.

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  17.1.9 The average value for each test and the average                                 18.2 A round robin was conducted on the test method for
percentage wood failure for shear and creep resistance.                               Resistance to Delamination using three different species of
                                                                                      wood (SPF, SYP, and Hem Fir). The results of the round robin
18. Precision and Bias                                                                were analyzed using Practice E691.
   18.1 A round robin test was conducted on the test method                              18.2.1 Table 4 gives the results of the round robin. Both
for Resistance to Shear. The precision of shear strength testing                      standard deviation (sr and sR) and 95 % repeatability and
has two components: within-laboratory (repeatability) and                             reproducibility limits (r and R) were selected as precision
between-laboratory (reproducibility). The data from the round                         statistics. Since the reproducibility standard deviation (between
robin test was analyzed using Practice E691. The precision of                         laboratories) was not much larger than the repeatability stan-
the test method is affected by many factors including, but not                        dard deviation (within a laboratory), it may indicate that the
limited to: (1) the wood species, (2) grain direction, (3) growth                     largest variability was due to a factor which would affect all
ring orientation, (4) the quality of the bonded joint, (5)                            laboratories such as drying of the specimens or measuring the
precision of the testing machine, and (6) the operator.                               amount of observable delamination.
   18.1.1 The round robin was done using southern yellow                                 18.2.2 The precision of this test method is affected by many
pine lumber. Table 3 gives the results of the round robin. The                        factors such as: wood species, grain direction, growth ring
results are expressed as precision statistics within a laboratory                     orientation, specific gravity of the wood, quality of the bonded
(repeatability) and between-laboratories (reproducibility). Both                      joint, oven drying rate, and the operator (including reading of
standard deviation (sr and SR) and 95 % repeatability and                             delamination). The data generated by this round robin is
reproducibility limits (r and R) were selected as precision                           available.
statistics. The data generated by this round robin is available.                         18.3 The test methods have no bias because the shear
   18.1.2 The 95 % repeatability and reproducibility limits                           strength, wood failure, and percent delamination are defined by
were similar for both shear strength and estimated wood                               the testing methods.
failure. This may indicate that the largest source of variability                     19. Keywords
may be affecting all laboratories such as properties of the
                                                                                         19.1 adhesive; delamination; glulam; laminated wood; shear
wood.
                                                                                      strength; structural-glued-laminated timber
                                                                                                     TABLE 4 Cyclic Delamination Precision
        TABLE 3 Shear Strength and Wood Failure Precision
                                                                                                                           srA        sRB          rC     RD
                                       srA       sRB          rC         RD
                                                                                      SPF                                  3.97       4.25       11.12   11.76
Shear Strength                       159.8      175.6       447.4       491.7         SYP                                  1.54       2.68       4.31    7.50
Wood Failure                         11.2       13.4        31.4        37.5          Hem Fir                              5.01       9.18       14.02   25.70
  A                                                                                     A
    Standard Deviation Within-Laboratory (repeatability).                                 Standard Deviation Within-Laboratory (repeatability).
  B                                                                                     B
    Standard Deviation Between-Laboratories (reproducibility).                            Standard Deviation Between-Laboratories (reproducibility).
  C                                                                                     C
    95 % Repeatability Limit (within a laboratory).                                       95 % Repeatability Limit (within a laboratory).
  D                                                                                     D
    95 % Reproducibility Limit (between laboratories).                                    95 % Reproducibility Limit (between laboratories).




                                                                   SUMMARY OF CHANGES

              Subcommittee D14.30 has identified the location of selected changes to this standard since the last issue
            (D2559 – 03) that may impact the use of this standard.

(1) Addition of referenced Test Methods D4442 in 2.1.                                 strength on listed species by basing on 90 % of shear strength
(2) Addition of Note 2 to 10.1 that grouping of species is not                        parallel to grain as reported in Table 4–3 of the 1999 Wood
permitted.                                                                            Handbook. The revision of Table 1 also provides requirements
(3) Addition of 14.2.3 that requires conditioning shear speci-                        for determining shear strength of species not found in Table 1
mens to a target moisture content prior to testing for Resistance                     but listed in the 1999 Wood Handbook and requirements for
to Shear. For species found in Table 1 the target moisture                            other species not found in the 1999 Wood Handbook.
content is 8, 12, or 16 % and for all other species the target                        (7) Changes to the standard to allow hot-press curing adhesives
moisture content is 12 %.                                                             as well as ambient-curing adhesives to be evaluated:
(4) Revised 15.4.1 on measurement and reporting of delami-                               (a) Revised 10.2 (Wood Moisture Content) to include
nation. The delamination requirement for each manufacturing                           information for both ambient-curing adhesives and hot-press
condition shall not exceed 1 % for any bond line in the                               adhesives.
laminated test member for softwoods or 1.6 % for hardwoods.                              (b) Revised Section 11 (Preparation of Laminated Wood Test
(5) Revised Section 17 to include reporting wood species                              Members) to include information for ambient-curing adhesives
evaluated and if not listed in Table 1 the adjusted (90 %) shear                      in 10.2.1 and for hot-press curing adhesives in 10.2.2. Infor-
strength parallel to grain.                                                           mation specific to hot-press curing adhesives for the prepara-
(6) Revised Table 1 to provide uniformity on required shear                           tion of Laminated Test Members is provided in 11.2.1-11.2.4.

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                                                                                D2559 – 04
   (c) Revised Section 15 on Preparation of Specimens for                              nation test, eight delamination specimens are required com-
Resistance to Delamination During Accelerated Exposure.                                pared to six specimens prepared from ambient-curing adhe-
Separate sections are provided for ambient-curing adhesives                            sives.
(15.2.1) and hot-press curing adhesives (15.2.2). In order for                            (d) Revised Table 2 for use with either ambient-curing
specimens prepared from hot-press curing adhesives to provide                          adhesives or hot-press curing adhesives.
at least the same quantity of test bondline during the delami-

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                      EXHIBIT 4
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                      Designation: D 5572 – 95 (Reappproved 1999)



                     Standard Specification for
                     Adhesives Used for Finger Joints in Nonstructural Lumber
                     Products1
                     This standard is issued under the fixed designation D 5572; the number immediately following the designation indicates the year of
                     original adoption or, in the case of revision, the year of last revision. A number in parentheses indicates the year of last reapproval. A
                     superscript epsilon (e) indicates an editorial change since the last revision or reapproval.


 1. Scope                                                                                        1.5 The following precautionary caveat pertains only to the
    1.1 This specification establishes performance levels for                                 apparatus and test methods portions, Sections 6-11 of this
 adhesives to be used in finger joints in nonstructural bonded-                               specification: This standard does not purport to address all of
 lumber products. Such products include, but are not limited to,                              the safety concerns, if any, associated with its use. It is the
 interior and exterior mouldings, window and door components                                  responsibility of the user of this standard to establish appro-
 or parts, and bonded-lumber panels. Adhesives that meet the                                  priate safety and health practices and determine the applica-
 requirements of the various performance classes are considered                               bility of regulatory limitations prior to use.
 capable of providing an adequate bond for use under the                                      2. Referenced Documents
 conditions described for the class. This specification is to be
 used to evaluate adhesives as well as the adhesive bonds in the                                2.1 ASTM Standards:
 finger joints. See Section 5, Significance and Use, for limita-                                 D 143 Methods of Testing Small Clear Specimens of Tim-
 tions when using this specification to evaluate industrially                                     ber2
 manufactured finger joints.                                                                    D 907 Terminology of Adhesives3
                                                                                                D 2016 Methods for Moisture Content of Wood4
   NOTE 1—This specification supersedes the finger-joint portion of the                         D 3110 Specification for Adhesives Used in Laminate Joints
 1990 edition of Specification D 3110.
                                                                                                  for Nonstructural Glued Lumber Products3
  1.2 The following index is provided as a guide to the test                                    D 4688 Method for Evaluating Structural Adhesives for
 methods in this specification:                                                                   Fingerjointing Lumber3
                                                                             Section            D 5266 Practice for Estimating the Percentage of Wood
 Apparatus                                                                      6                 Failure in Adhesive Bonding Joints3
 Equipment, Material, and Preparation of Assemblies and Specimens               7
 Conditioning for Factory-Manufactured Assemblies, Laboratory-Made              8               E 4 Practices for Force Verification of Testing Machines5
 Assemblies, and Test Specimens                                                                 E 6 Terminology Relating to Methods of Mechanical Test-
 Testing in Flexure                                                              9                ing5
 Testing in Tension                                                             10
 Exposure Conditions and Treatments                                             11              E 41 Terminology Relating to Conditioning6
      1. Dry Use Tests: Dry, 3-cycle Soak, Elevated Temperature,                11.1            E 177 Practice for Use of the Terms Precision and Bias in
 and Temperature-Humidity                                                                         ASTM Test Methods7
      2. Wet Use Tests: Dry, Boil, Elevated Temperature, and                    11.2
 Vacuum-Pressure                                                                                E 691 Practice for Conducting an Interlaboratory Study to
                                                                                                  Determine the Precision of a Test Method7
    NOTE 2—The conditioning needed for various stages in the preparation
 of both types of specimens and for the exposure tests are given.                             3. Terminology
    NOTE 3—Specific guidelines for specimen size, exposure conditions,
 testing, calculation, and reporting are given for flexure specimens in                          3.1 Definitions—Many terms in this specification are de-
 Sections 9 and 11, and for tension specimens in Sections 10 and 11.                          fined in Terminology D 907 and Terminology E 41.
    1.3 For the definitions of dry use and wet use, see 3.2.1.1                                  3.1.1 bond, n—the union of materials by adhesives.
 and 3.2.1.2.                                                                                    3.1.2 finger joint, n—a joint formed by bonding two precut
    1.4 The values stated in inch-pound units are to be regarded                              members shaped like fingers. (See Figs. 1 and 2.)
 as standard. The SI units given in parentheses are for informa-                                 3.2 Definitions of Terms Specific to This Standard:
 tion only.                                                                                      3.2.1 nonstructural adhesive:

                                                                                                 2
                                                                                                   Annual Book of ASTM Standards, Vol 04.10.
    1                                                                                            3
     This specification is under the jurisdiction of ASTM Committee D-14 on                        Annual Book of ASTM Standards, Vol 15.06.
                                                                                                 4
 Adhesives and is the direct responsibility of Subcommittee D14.30 on Wood                         Discontinued; see 1989 Annual Book of ASTM Standards, Vol 04.09.
                                                                                                 5
 Adhesives.                                                                                        Annual Book of ASTM Standards, Vol 03.01.
                                                                                                 6
    Current edition approved Sept. 10, 1995. Published November 1995. Originally                   Annual Book of ASTM Standards, Vol 14.04.
                                                                                                 7
 published as D 5572 – 94. Last previous edition D 5572 – 94.                                      Annual Book of ASTM Standards, Vol 14.02.



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                                                              D 5572 – 95 (Reappproved 1999)
                                                                                            4.1.1 To comply with this specification the test adhesive
                                                                                         shall be tested for performance in accordance with Sections
                                                                                         8.1.1-11, and it shall meet the requirements in Table 1 for the
                                                                                         selected testing mode and performance classification.
                                                                                            4.1.2 Compliance with this specification shall warrant cer-
                                                                                         tification of the adhesive for use on the species of wood that is
                            FIG. 1 Horizontal Joint                                      used for the tests, or for use on a designated group of species
                                                                                         when tested and found to be in compliance for any one member
                                                                                         of said group of species. The designated species groupings for
                                                                                         commonly used domestic and imported woods, as accepted in
                                                                                         this specification, are given in Table 2. In the event that the user
                                                                                         or supplier of the adhesive, or both, cannot accept the desig-
                                                                                         nated groupings in Table 2, either party shall have the option of
                              FIG. 2 Vertical Joint
                                                                                         requesting a test on an individual species. Furthermore, the
                                                                                         user and supplier may agree to change any of the wood-failure
   3.2.1.1 dry use nonstructural adhesive, n—an adhesive                                 requirements of Table 1 when applied to tests on Groups 3 and
 capable of producing sufficient strength and durability to make                         4 hardwoods from Table 2. For wood-property information on
 the bonded lumber product serviceable in nonstructural use,                             imported woods, see the Wood Handbook.8
 under conditions in which the equilibrium moisture content                                 4.1.2.1 The wood-failure requirements listed in Table 1 are
 (EMC) of the wood does not exceed 16 %.                                                 given for softwoods and hardwoods. Table 1 shows that the
   3.2.1.2 wet use nonstructural adhesive, n—an adhesive                                 wood-failure requirements for hardwood are 50 % of the
 capable of producing sufficient strength and durability to make                         requirements for softwoods.
 the bonded lumber product serviceable in nonstructural use,                                4.2 Industrially Manufactured Finger Joint—An industri-
 under conditions in which the EMC of the wood may be 16 %                               ally manufactured finger joint may be used to evaluate the
 or greater.                                                                             adhesive, provided its construction meets the requirements set
   3.3 Abbreviations:                                                                    forth in Sections 7-10, and the joint is tested against the
   3.3.1 EMC—equilibrium moisture content.                                               requirements in Table 1.
   3.3.2 MC—moisture content.
 4. Test Requirements                                                                      8
                                                                                             U.S. Department of Agriculture Forest Service; Agricultural Handbook, No. 72,
   4.1 Adhesives:                                                                        Wood Handbook, Tables 3 and 4, 1987 edition, pp. 3–11.

                                                             TABLE 1 Minimum Test Requirements
                                                                                                                                                           Testing Mode
                                                                                               Testing Mode TensionB
                                                                                                                                                              Flexure
                                           Subsection
   Performance Classification and          Number for                                                                                                       Modulus of
                                                                                                              Wood FailureD
       Exposure ConditionsA                 Exposure                                                                                                        RuptureC
                                                              Strength, psi
                                           Description           (MPa)C                   Group AverageE                      Individual MinimumF          Minimum psi
                                                                                                 %                                    %                      (MPa)G

                                                                                   Soft                 Hard               Soft              Hard
                                                                                   Wood                WoodH               Wood             WoodH
 Dry Use:
   Cured (dry)                               11.1.1            2000 (13.8)          60                   30                   30              15           2000 (13.8)
                                                                                                                                               I
   Three-cycle soak                          11.1.2            1000 (6.9)           30                   15                   15                           1000 (6.9)
                                                                                     I                    I                    I               I                 I
   Elevated Temperature ((220°F)             11.1.3            1000 (6.9)
     (104°C))
                                                                                     I                    I                    I               I                 I
   Temperature-Humidity ((140°F              11.1.4             750 (5.2)
     (60°C), 16 % EMC))
 Wet Use:
   Cured (dry)                               11.2.1            2000 (13.8)          60                   30                   30              15           2000 (13.8)
                                                                                                                                               I
   Boil                                      11.2.2            1600 (11.0)          50                   25                   25                           1400 (9.7)
                                                                                     I                    I                    I               I                 I
   Elevated Temperature ((220°F)             11.2.3            1000 (6.9)
     (104°C))
                                                                                                                                               I
   Vacuum Pressure                           11.2.4            1600 (11.0)          50                   25                   25                           1400 (9.7)
   A
     Twenty specimens required for each classification and exposure.
   B
     Parallel to the grain.
   C
     Tension and flexure results may vary with the species. Any acceptable wood should produce joints able to meet these requirements.
   D
     The wood-failure requirements are given for softwoods and hardwoods. Groups 3 and 4 hardwoods are listed at 50 % of the softwood value, with no wood-failure
 requirement if the calculation is 15 % or less. (See 4.1.2.)
   E
     For total group of specimens tested.
   F
     For 90 % of the specimens tested, they shall meet or exceed these minimum wood-failure values shown. If a zero value is obtained for any of the specimens (the
 specimen must meet the strength requirement).
   G
      For any individual specimen.
   H
     See recommended minimum specific gravity in Table 2.
   I
     No requirement.


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                                                                   D 5572 – 95 (Reappproved 1999)
   TABLE 2 Bondability Groupings of Commonly Used Domestic
                      and Imported WoodA
 U.S. Hardwoods          U.S. Softwoods                        Imported Woods
                              Group 1—Bond EasilyB
 Alder                   Cedar, incense       Balsa                  Hura
 Aspen                   Fir:                 Cativo                 Purpleheart
 Basswood                   White             Courbaril              Roble
 Cottonwood                 Grand             DetermaC
 Chestnut,                  Noble
      American
 Magnolia                  Pacific
 Willow, black           Pine:
                           Eastern white
                           Western white
                         Redcedar, western
                         Redwood
                         Spruce, Sitka
                               Group 2—Bond WellD                                                       Example Dimensions for Fig. 3 Test Standard Finger Joint:
 Butternut               Douglas-fir         Afrormosia              Meranti (lauan):
                                                                                                      Code              Dimensions, in. (mm)A              Degrees
 Elm:                    Larch, westernE     Andiroba                  White
   American              Pine:               Angelique                 Light red            a                                1.312 (33.32)                     ...
   Rock                    Sugar             Avodire                   Yellow               f                                0.250 (6.25)                      ...
 Hackberry                 Ponderosa         Banak                   Obeche                 wt                               0.047 (1.19)                      ...
 Maple, soft             Redcedar, eastern   Iroko                   Okoume                 wb                               0.092 (2.34)                      ...
 Sweetgum                                    Jarrah                  Opepe                  s (Slope)                                                          5°
 Sycamore                                    Limba                   Peroba rosa             A
                                                                                               The dimensions given are for a typical horizontal finger joint and are examples
 Tupelo                                      Mahogany:               Sapele
                                                                                           only.
 Walnut, black                                  African              Spanish-cedar
 Yellow-poplar                                  True                 Sucupira                                FIG. 3 Test Standard Finger-Joint Form
                                                                     Wallaba
                           Group 3—Bond SatisfactoryF

 Ash, white              Alaska-cedar                Angelin         Meranti (lauan),         5.2 The initial development of Specification D 3110 was
                                                                         dark red          based on finger-joint assemblies made under controlled labo-
 Beech, American         Port-Orford-cedar           Azobe           Pau marfim
 Birch:                  Pine, southern              Benge           Parana-pine
                                                                                           ratory conditions. In the development of this revised specifi-
   Sweet                                             Bubinga         Pine:                 cation the results obtained with laboratory-made specimens
   Yellow                                            Karri             Caribbean           (see 12.1.2) were compared to those obtained with industrially
 Cherry                                                                Radiata
 Hickory:                                                            Ramin
                                                                                           manufactured specimens (see 12.1.1). These finger joints were
   Pecan                                                                                   prepared using previously certified adhesives in cooperation
   True                                                                                    with a manufacturer or equipment supplier who had the
 Madrone
 Maple, hard
                                                                                           necessary finger-joint cutter and assembly equipment. These
 Oak:                                                                                      finger joints may vary in geometry and length from manufac-
   RedC                                                                                    turer to manufacturer, and this variation could affect the
   WhiteC
                          Group 4—Bond With DifficultyG
                                                                                           performance of the bonded-finger-joint assembly.9 (See 12.1,
 Osage-orange                                 Balata                 Keruing               12.4, and 12.5.) Fig. 3 depicts a sample finger-joint configu-
 Persimmon                                    Balau                  Lapacho               ration.
                                              Greenheart             Lignumvitae
                                              Kaneelhart             Rosewood
                                                                                              5.2.1 When changes are made in the design of the industri-
                                              Kapur                  Teak                  ally manufactured finger joint, the new design should be
    A
      From Wood Handbook7 Table 9-1 (with the species incense cedar added to               compared to a control design that has been used successfully.
 Group 1) U.S. Forest Service, USDA, Washington, DC. Although this table is of                5.3 An industrially manufactured finger joint should be
 historical significance, it is recognized that more modern adhesives might lead to
 different species groupings in regard to difficulty of bonding. The user is referred to
                                                                                           evaluated using the requirements for compliance with this
 5.2.                                                                                      specification, in accordance with 4.1. When this specification is
    B
      Bond very easily with adhesives of a wide range of properties and under a            used to evaluate specimens made from field-manufactured
 wide range of bonding conditions.
    C
      Difficult to bond with phenol-formaldehyde adhesive.
                                                                                           assemblies, the results may not compare favorably with those
    D
      Bond well with a fairly wide range of adhesives under a moderately wide range        run on specimens made from laboratory-made assemblies.
 of bonding conditions.
    E
                                                                                              5.4 Test requirements are provided to determine if the
      Wood from butt logs with high extractive content are difficult to bond.
    F
      Bond satisfactorily with good-quality adhesives under well-controlled bonding
                                                                                           adhesive is suitable for dry use or wet use.
 conditions.                                                                                  5.5 The dry test and exposure conditions and treatments are
    G
      Satisfactory results require careful selection of adhesives and very close           to evaluate adhesives used in nonstructural finger joints for
 control of bonding conditions; may require special surface treatment.
                                                                                           typical service conditions.
                                                                                              5.5.1 The 220°F (104°C) test, a more severe test, is de-
 5. Significance and Use                                                                   signed to evaluate the product after exposure to short-term
    5.1 Adhesives are classified as dry use or wet use. Each
 classification includes consideration of short-term in-transit
 exposure conditions at elevated temperatures up to 220°F                                    9
                                                                                               Selbo, M. L., “Effects of Joint Geometry on Tensile Strength of Finger Joints,”
 (104°C).                                                                                  Forest Products Journal, Vol 13, No. 9, September 1963, pp. 390–400.


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                                                           D 5572 – 95 (Reappproved 1999)
 elevated-temperature conditions. This test is intended to simu-
 late conditions that might be experienced in transit, further
 processing, or in-service conditions.
   NOTE 4—These typical service conditions could include stress and time
 under stress, as well as elevated temperature.
    5.6 Procedures are described in sufficient detail to permit
 duplication in different testing laboratories.
    5.6.1 Record any deviations in these procedures on the
 report forms, Appendix X1, as it may have an impact on the
 results obtained. Test data are only valid for the length and
 design used. (See 12.4.)
    5.7 To avoid potential problems that would be caused by
 interrupting the bonding process, the adhesive-performance
 level should be determined by the finger-joint manufacturer
                                                                                                 Example Dimensions for Fig. 4 Flexure Test Specimen:
 prior to handling and early shipment. Before beginning the full
 testing process, the testing laboratory should pull a represen-                                    Code                             Dimension, in. (mm)A
 tative sample and check the dry strength first, in order to ensure                                    Ls                                  12.0 (307.2)
 that the product basically conforms with the performance level                                        b                                   0.75 (19.2)
                                                                                                       d                                     0.5 (12.8)
 certified by the adhesive manufacturer.                                                               e                                    (see 9.2.1)
                                                                                      A
                                                                                        These dimensions are given as examples of a finger-joint assembly. Use the
                          TEST METHODS                                              actual measurements of “b” and “d.” Code “b” may be the width of a vertical joint,
                                                                                    or the thickness of a horizontal joint. Code “e” is the extended dimension of the
                                                                                    length of the assembly that falls outside the reaction points.
 6. Apparatus                                                                                      FIG. 4 Flexure Test Form and Dimension
   NOTE 5—The finger-joint specimens to be broken in tension are shorter
 than those to be broken in flexure. Accommodation must be made in the              mm), and capacity of both test machine and grips of not less
 equipment for handling the larger flexure specimen.                                than 2200 lbf (1000 kgf).
    6.1 Environmental Chamber (For Moist-Heat Aging), ca-                              NOTE 6—Depending on the design and adaptability, the same machine
 pable of conditioning specimens at 80 6 5°F (27 6 3°C) and                         with a 2200-lbf (1000-kgf) capacity, described in 6.5 for the flexure
 80 6 5 % relative humidity and capacity for at least 20                            testing, can be used for the tension test described in 6.6. (See Practices E 4
 specimens well-spaced and supported on racks to allow free air                     and Terminology E 6.)
 flow.                                                                                6.7 Vacuum-Pressure Vessel, capable of meeting the require-
    6.2 Oven(s), with sufficient air circulation to remove mois-                    ments of 11.2.4, and capacity to meet the requirement that all
 ture from the chamber, and capable of meeting all the follow-                      of the specimens are at least 2 in. (50.8 mm) below the water
 ing temperature requirements: 105 6 5°F (41 6 3°C) (see                            level for the duration of the complete vacuum-pressure cycles.
 11.1.2); 220 and 230 6 5°F (104 and 110 6 3°C) (see 11.1.3
 and 11.2.3); 150 6 2°F (65 6 1°C) (see 11.1.4); and 145 6 5°F                      7. Preparation of Finger Joint
 (63 6 3°C) (see 11.2.2).                                                              7.1 Equipment—Prepare the finger-joint assemblies in co-
    6.3 Tank for Soaking, capacity to meet the requirements of                      operation with a wood-products manufacturer, an equipment
 11.1.2, so that all of the specimens are at least 2 in. (50.8 mm)                  manufacturer, or a laboratory having all of the proper equip-
 below the water level for the duration of the soak cycles.                         ment.
    6.4 Tank for Boiling, capacity to meet the requirements of                         7.2 Preparation of Assemblies:
 11.2.2, so that all of the specimens are at least 2 in. (50.8 mm)                     7.2.1 Material—Use lumber that conforms to the require-
 below the water level for the duration of the boil cycles.                         ments: maximum slope of grain of 1 in 14 on any face or edge;
    6.5 Testing Machine for the Flexure Specimen, capacity of                       EMC of 8 to 12 %, preferably brought to 10 to 12 % MC prior
 not less than 2200 lbf (1000 kgf) in compression, equipped for                     to cutting and bonding; free of knots and decay; free of
 one-third span, two-point loading as described in 9.5 and                          machining defects such as chipped grain, feed-roll polish,
 shown in Fig. 4, capable of maintaining a uniform rate of                          coarse knife marks, and feed-roll compression; free of drying
 loading such that the load may be applied with a continuous                        effects, such as case hardening, collapse, or splits or checks.
 motion of the movable head to maximum at a rate of 0.5 in.                         Recommended minimum specific gravities are given in Table
 (11.7 mm)/min with a permissible variation of 610 %, and                           3. Finger joints are to be cut on the day the assemblies are to
 located in an atmosphere such that the moisture content of the                     be made. See 4.1.2 for species compliance rules relative to
 specimens developed under the conditions prescribed in Sec-                        testing, and Table 2 for information on the bondability of some
 tion 11 is not noticeably altered during testing.                                  species of wood.
    6.6 Testing Machine for the Tension Specimen, capable of                           7.2.2 Adhesive—Follow the adhesive manufacturer’s in-
 applying a calibrated tensile force, equipped with grips of                        structions for conditions and procedures for preparing and
 sufficient length to hold the specimen firmly, preferably a                        applying the adhesive, as well as for assembling, pressing, and
 minimum length of 2.5 in. (63.5 mm) by a width of 0.75 in. (19                     curing the assembly.

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 TABLE 3 Recommended Minimum Specific Gravities by Species                            with a distance between reaction points of 24 multiplied by the
                     Species                           Specific Gravity A,B           depth, d. Allow at least 1 in. (25 mm) at both ends of the
   Douglas Fir, East                                           0.48                   specimen outside the reaction points. On each edge of the
   Douglas fir, Interior South                                 0.46                   specimen, feather out the finger at the midpoint of the joint,
   Cedar, Alaska                                               0.44
   Fir, White                                                  0.39
                                                                                      adjusting the width of the specimen accordingly. (See Fig. 5.)
   Hemlock, Western                                            0.45
                                                                                         NOTE 7—In this application, “to feather” means to remove any portion
   Larch, Western                                              0.52
   Pine, Lodgepole                                             0.41
                                                                                      extending beyond the normal surface of the outer finger so that the stress
   Pine, Loblolly                                              0.51                   riser (butt joint effect) is not present on the surface. See Fig. 5.
   Pine, Ponderosa                                             0.40
                                                                                         9.3 Exposure Conditions—Subject the specimens to the
  A
    Values have been taken from Table 4-2, Wood Handbook. 7                           tests for the selected wet-use or dry-use classification, or both,
  B
    Values are averages based on oven-dry weight and volume at 10 to 12 %
 moisture content.                                                                    in accordance with the applicable conditions and treatments
                                                                                      given in Section 11. Consult Table 1 for the tests required for
    7.2.3 Number of Specimens—For each unique combination                             each testing mode and performance classification.
 of specimen type, mode of testing, and exposure condition, a                            9.4 Testing Machine— See 6.5.
 test group consists of 20 specimens, representing at least four                         9.5 Testing Procedure— Apply the load with a continuous
 different assemblies with no more than five specimens from                           motion of the movable head at a rate of 0.5 in. (12.7 mm)/min
 each assembly.                                                                       (610 %), testing the specimens by one-third span, two-point
                                                                                      loading with the load applied perpendicular to the face showing
 8. Conditioning                                                                      the fingers, as shown in Fig. 4.
    8.1 Measuring Moisture Content—There are several stages                              9.6 Calculation—Calculate the modulus of rupture in
 in this test method where it is necessary to determine the MC                        pounds-force per square inch or kilopascals as follows:
 as follows: on the lumber before bonding, on the assemblies                                                         R 5 Pl/bd2                              (1)
 before cutting into specimens, and on the specimens during
 several tests when they must be dried to a given MC before                            where:
 testing.                                                                              R = modulus of rupture, psi (MPa),
                                                                                       P = maximum load, lbf (N),
    8.1.1 Factory-Manufactured Assemblies—When construct-
                                                                                       l    = length of span (24d), in. (mm),
 ing the assemblies, select lumber within the range from 10 to                         b = breadth of specimen, in. (mm), and
 12 % MC before bonding, (see 7.2.1). Determine the MC by                              d = depth of specimen, in. (mm).
 use of an electronic moisture meter, in accordance with Test                            9.7 Report—Report the modulus of rupture values on the
 Method B in Methods D 2016. After bonding the assemblies in                          form shown in Fig. X1.1for dry use and wet use. Also, report
 the field, control the MC of the specimens throughout the                            the wood species used for testing, indicate whether it is
 testing process as shown in 8.1.2.1 and 8.1.3 for laboratory-                        classified as soft wood or hard wood, and report the slope of
 made specimens.                                                                      the finger in degrees. Report the measurements for b and d, to
    8.1.2 Laboratory-Made Assemblies—Select lumber as de-                             the nearest 0.01 in. (0.25 mm) for each specimen. Fig. X1.1
 scribed in 7.2.1, except determine the MC of the lumber by                           also includes spaces for the recording of several items of
 Test Method A, Oven-Dry; or by Test Method B, Electronic                             bonding information that, although not required for test report-
 Moisture Meter Method, of Methods D 2016, when agreement                             ing, have been found useful in product quality control.
 within 61 % MC with Test Method A has been determined.
    8.1.2.1 If needed, condition the assemblies to the original                       10. Testing in Tension
 MC,6 1 % MC, by use of an environmental chamber (see 6.1)
 prior to cutting the specimens.                                                        10.1 Conditioning— Follow the instructions in Section 8.
    8.1.3 Specimen Conditioning During the Testing Process—                             10.2 Preparation of Test Specimen:
 The allowable variation in MC at the completion of a drying
 cycle or before testing dry is 61 % MC. For example, if the
 MC of the specimen before exposure is 9 %, the acceptable
 range for testing is 8 to 10 %. Wood failure is estimated on
 specimens after they have been conditioned to less than 8 %,
 except for the dry test described in 11.1.1 and 11.2.1, where the
 specimens have never been taken from the dry state. Wood
 failure may be read on these test specimens following the
 strength testing, with no further conditioning to reduce MC.
 9. Testing in Flexure
   9.1 Conditioning—Follow instructions in Section 8.
   9.2 Preparation of Test Specimen:
   9.2.1 Form and Dimension—From a finger-jointed assem-
 bly (see 7.2), cut the flexure-test specimens with sufficient
 length for the joint to be centered at midspan as in Fig. 4, and                                         FIG. 5 Feathered Finger Joint


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   10.2.1 Form and Dimensions—From a finger-jointed as-                                instructions on reading wood failure. Details of the test
 sembly, cut the tension test specimens, with each measuring                           methods are given as follows:
 0.25 by 0.75 6 0.01 in. (6.35 by 19.05 6 0.25 mm), with a                                11.1.1 Dry Test—Following the prescribed curing period for
 recommended length of 10 in. (25.4 cm). Trim the outer fingers                        the adhesive being tested, condition or dry one group of the
 of the specimen as described in Note 7 and as shown in Fig. 5,                        specimens (see 7.2.2) to within the allowable range of 61 %
 a process known in this specification as “feathering.” (See                           MC of the original MC (see 8.1.3), and test in accordance with
 9.2.1 and Note 7.)                                                                    the instructions in 9.5 or 10.5.
                                                                                          11.1.2 Soak Test (Three Cycle)—Place one group of the
   NOTE 8—Fig. 6 illustrates a sample finger-joint configuration. Ten
 inches (25.4 cm) is the preferred length, but shorter lengths may be                  specimens (see 7.2.2) in the soak tank, separated by stickers,
 necessary to accommodate certain testing machines. (See 5.5.1.)                       wire screens, or other means, in such a manner that all surfaces
                                                                                       are freely exposed to the water. Weight down the specimens in
    10.3 Exposure Conditions—Follow the instructions in Sec-
                                                                                       water at 65 to 80°F (19 to 27°C) so that all specimens are at
 tion 11. See Table 1 for the tests required for each testing mode
                                                                                       least 2 in. (50.8 mm) below the surface of the water. Keep the
 and performance classification.
                                                                                       specimens immersed for a period of 4 h, followed by drying at
    10.4 Testing Machine— See 6.6.
                                                                                       a temperature of 105 6 5°F (41 6 3°C) for a period of 19 h,
    10.5 Testing—Apply the load at a rate of 0.5 in. (12.7
                                                                                       with sufficient air circulation to reduce the moisture content of
 mm)/min.
                                                                                       specimens to within 61 % MC of the original MC as described
    10.6 Calculation—Calculate the ultimate tensile stress in
                                                                                       in 8.1.3. Repeat this procedure twice more for a total of three
 pounds-force per square inch or megapascals based on tensile
                                                                                       cycles. Following the third cycle, conduct the tests in the dry
 breaking load and the cross-sectional area at the finger joint.
                                                                                       condition at 75 6 5°F (24 6 3°C). If needed before testing and
    10.7 Report—Report the tensile-stress values together with
                                                                                       reading wood failure, condition or dry to less than 8 % MC, in
 the estimated percentages of wood failure on the form shown
                                                                                       an environmental chamber. (See 8.1.3.) Use of an electronic
 in X1.2 for dry use or X1.3 for wet use. Indicate whether the
                                                                                       moisture meter, as described in 8.1.1, is acceptable to deter-
 assemblies were field-manufactured or laboratory-made. Also,
                                                                                       mine MC.
 report the wood species and indicate whether it is classified as
                                                                                          11.1.3 Elevated Temperature Test—Use either of the follow-
 soft wood or hard wood. Report the slope of the finger in
                                                                                       ing test methods:
 degrees and the dimensions to the nearest 0.01 in. (0.25 mm)
                                                                                          11.1.3.1 Test Method Number One—Place one group of
 for each specimen: length of the finger (f), width of the finger
                                                                                       specimens (see 7.2.3) in an oven at 220 6 5°F (104 6 3°C) and
 at the tip (wt), and width of the finger at the base (wb). See Fig.
                                                                                       hold for 6 h. Remove the specimens individually and immedi-
 3.
                                                                                       ately wrap each in two layers of PVDC wrap.10 Place wrapped
    10.7.1 Estimate the wood failure on the finger joints by eye
                                                                                       specimens in a single layer in an oven at 230 6 5°F (110 6
 to the nearest 5 %. In addition, the mode and location of failure
                                                                                       3°C), and hold for a minimum of 12 min and maximum of 22
 may be noted, that is, as wood failure away from the joint,
                                                                                       min. Remove them from the oven one specimen at a time, and
 through the tips, or following the fingers. See Appendixes X6
                                                                                       test within 30 s, without removing the PVDC wrap. Conduct
 and X7 for guidelines on reading wood failure.
                                                                                       the test in a room with an ambient temperature of 75 6 5°F (24
 11. Exposure Conditions and Treatments                                                6 3°C).
    NOTE 9—Due to the number of specimens to be tested and the type of                    NOTE 10—The exposure of the unwrapped specimens for 6 h at 220 6
 tests that must be run, there may not be sufficient time to run all the               5°F (104 6 3°C), is for the purpose of simulating an elevated temperature
 specimens at one time in the time allotted. So that the time schedule may             environment that could be encountered during transportation. Polyvi-
 be followed, before running the tests in 11.1.3, 11.2.2, 11.2.3, and 11.2.4,          nylidene chloride wrap slows the cooling rate while testing. This method
 determine whether 1 h is enough time to test 20 specimens. If not, divide             has been corroborated by a laboratory that participated in the round robins.
 the specimens into smaller groups before running the exposure tests.                     NOTE 11—Using this procedure, the temperature of a specimen 15 s
                                                                                       after removal from the oven will be approximately 220°F (104°C). The
    11.1 Dry Use—The exposure conditions and treatments
 used with each testing mode to meet the dry-use classification
 requirements are listed in Table 1. See 8.1.3 for information on                         10
                                                                                             PVDC(polyvinylidene chloride) wrap is the generic designation for the tightly
 allowable MC when testing the specimens. See 10.7.1 for                               adhering, flexible films commonly used for covering food containers in the home.




                                                                      Example Dimensions for Fig. 6:

                                               (L)                                    10 in. (254.0 mm) A,B
                                               (H)                                     0.75 in. (19.05 mm)
                                              (W)                                      0.25 in. (6.35 mm)
   A
       The dimensions are given as examples only.
   B
       The recommended length is 10 in. Some testing machines cannot accommodate this length. See Note 7.
                                                     FIG. 6 Tension Test Multifinger Form and Dimension


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 cool-down rate was based on actual tests of specimens.                                   11.2.3 Elevated-Temperature Test—Follow the instructions
    11.1.3.2 Test Method Number Two—Test the specimens for                             in 11.1.3.
 the effect of elevated temperature by using a heated chamber                             11.2.4 Vacuum-Pressure Test—Place one group of speci-
 that is capable of heating the specimens to 220 6 5°F (104 6                          mens (see 7.2.3) in a pressure vessel, separated by stickers,
 3°C) for 6 h, and also enclosing the testing machine for testing                      wire screens, or other means in such a manner that all surfaces
 immediately following the exposure period. (See 6.2.)                                 can be freely exposed to the water. Weight down the speci-
    11.1.4 Temperature-Humidity Test—Condition one group of                            mens, and fill the vessel with water at 65 to 80°F (18 to 27°C)
 specimens (see 7.2.3) to equilibrium at 80 6 5°F (27 6 3°C)                           so that all specimens are immersed at least 2 in. (51 mm). Draw
 and 80 6 5 % relative humidity (equivalent to 16 % EMC).11                            and maintain a vacuum of at least 25 in. Hg (84.4 kPa) for 30
 Wrap each specimen in two layers of PVDC wrap and place in                            min. Release the vacuum, and follow immediately with pres-
 a single layer in oven at 150 6 2°F (65 6 1°C) for 12 to 20                           sure of 75 6 2 psi (517 6 14 kPa) for 30 min. Remove the
 min. In a room with an ambient temperature of 75 6 2°F (24                            specimens from the vessel and place in a plastic bag to keep
 6 1°C), remove specimens one at a time and test within 30 s                           them wet. Test while wet within 1 h. (See Note 9.) Dry to less
 without removing the PVDC wrap.                                                       than 8 % MC as described in 8.1.3 before reading wood failure.
    11.2 Wet Use—The exposure conditions and treatments                                Use of an electronic moisture meter, as described in 8.1.1, is
 used with each testing mode to meet the wet-use classification                        acceptable to determine MC.
 requirements are listed in Table 1. See 8.1.3 for information on
 allowable MC when testing the specimens. See 10.7.1 for                               12. Precision and Bias
 instructions on reading wood failure. Details of the test                                12.1 The precision of these tests on finger joints tested in
 methods are given as follows:                                                         tension was determine by a series of round-robin tests. The data
    11.2.1 Dry Test—Follow the instructions in 11.1.1.                                 were analyzed using the procedure in accordance with Practice
    11.2.2 Boil Test—Place one group of specimens (see 7.2.3)                          E 691. Factors carefully controlled were: wood species, finger-
 in a tank of boiling water, separated by stickers, wire screens,                      joint configuration, cutting-tool condition, adhesive, and bond-
 or other means, in such a manner that all surfaces are freely                         ing condition. The data generated by these round robins are
 exposed to the water. Weight down the specimens so they                               available.12
 remain immersed at least 2 in. (50.8 mm) during the boil cycle.                          12.1.1 A round-robin test to determine repeatability and
 Boil for 4 h. Dry for 20 h at 145 6 5°F (63 6 3°C) with                               reproducibility was run on field-manufactured specimens. This
 sufficient air circulation to lower the MC of the specimens to                        test was compared to two earlier round-robin tests where the
 the original MC, within an allowable variation of 61 % MC.                            specimens were made under controlled laboratory conditions.
 (See 8.1.3.) Determine the MC by removing a specimen at 18,                           The repeatability and reproducibility of the tensile-strength
 19, and 20 h and testing with a moisture meter until the MC                           data on the field-manufactured specimens were an improve-
 reading is in the desired range, or predetermine the time                             ment over that obtained on the laboratory-made specimens.
 required to reach the desired MC by running samples. Repeat                           The repeatability and reproducibility of the wood-failure data
 the 4-h boil cycle. Then remove the specimens and cool in                             on the field-manufactured specimens generally showed more
 running water at 65 to 80°F (18 to 27°C) for 1 h. Remove the                          variability when compared to that of laboratory-made speci-
 specimens from the water and place them in a plastic bag to                           mens.12
 keep them wet. Test while wet within 1 h.                                                12.1.2 Table 4 gives the results of the study on laboratory-
    11.2.2.1 For the specimens broken in tension, dry to less                          made specimens, expressed as the coefficient of variation
 than 8 % MC before estimating the percentage of wood failure.                         (CV %r) within a laboratory (repeatability), and (CV %R)
 Use of an electronic moisture meter, as described in 8.1.1, is                        between laboratories (reproducibility). The research report12
 acceptable to determine MC.                                                           gives the maximum and minimum tensile strengths and wood
                                                                                       failures for all tests run for Round Robins 1 and 2 on
                                                                                       laboratory-made specimens. The research report12 compares
         TABLE 4 Tensile-Strength and Wood-Failure Precision                           the repeatability and reproducibility of the data on the field-
                               Tensile Strength                 Wood Failure           manufactured specimens to that of the laboratory-made speci-
                            CV %r    A
                                           CV %R    B
                                                           CV %rA          CV %RB      mens.
  Dry                         72.6           74.5            31.5            32.8
                                                                                          12.2 Practice E 691 allows reporting of results in a number
  Boil                        42.0           66.1           129.5           155.5      of different ways. Coefficient of variation (CV) was chosen in
  Vacuum-Pressure             60.9           68.3            79.9            86.6      this instance because the mean varied so much that comparing
  165°F (74°C)                52.9           63.2           120.8           137.3
  220°F (104°C)               49.7           62.7           188.1           220.8
                                                                                       standard deviations did not give a clear picture. Using CV’s
   A
                                                                                       illustrates the larger standard deviation in comparison to the
       Repeatability, coefficient of variation in percent (within a laboratory).
   B
       Reproducibility, coefficient of variation in percent (between laboratories).    means.
                                                                                          12.3 An explanation of the preferred indexes of precision
                                                                                       for ASTM test methods is given in 28.1 and 28.2 of Practice
                                                                                       E 177. These paragraphs include the calculations for the
    11
       Forest Products Laboratories, “Wood Handbook: Wood as an Engineering
 Material,” Agriculture Handbook No. 72. Washington, DC: U.S.D.A.; Rev. 1987.
                                                                                          12
 Tables 3 and 4, pp. 3–11, “Moisture Content of Wood in Equilibrium with Stated              Supporting data are available from ASTM Headquarters. Request RR:D14-
 Dry Bulb Temperature and Relative Humidity.”                                          1005.


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 coefficients of variation for both CV % r and CV % R. CV % r                          12.6 To determine a base precision, samples of clear wood
 and CV % R are larger than the coefficient of variation ( s/n),                    were prepared and broken in accordance with Methods D 143
 calculated as shown in Note 12. (See Appendix X2 for the                           and analyzed in accordance with Practice E 691. Table 5 gives
 pertinent excerpts from Practice E 177.)                                           the results of this study.
                                                                                       12.6.1 The repeatability within laboratories obtained from
   NOTE 12—The coefficient of variation that has been historically used by          clear-wood specimens is consistent with that of the laboratory-
 the industry is calculated by the formula:
                                                                                    made finger-joint specimens. This suggests that the results
                                  CV 5 s/n                                 (2)      from the finger-joint round-robin test show the repeatability
                                                                                    that is achievable within a laboratory.
 where:
 CV     = coefficient of variation,                                                    12.6.2 The reproducibility between laboratories obtained
 s      = standard deviation, and                                                   from the clear-wood specimens as compared with laboratory-
 n      = mean.                                                                     made finger-joint specimens, illustrates that this may be the
                                                                                    best reproducibility achievable on bonded specimens.
    12.3.1 In this specification, Committee D-14 has chosen to                         12.7 No precision has been determined for finger joints
 use the preferred indexes of precision for ASTM test methods,                      broken in flexure.
 as given in Practice E 177.                                                           12.8 These test methods have no measure of bias since the
    12.4 For the laboratory-made specimen (see Appendix X2),                        tensile strength and wood failure are defined by the testing
 when finger lengths were 0.3 and 1.0 in. (7.6 and 25.4 mm),                        methods.
 length did not appear to influence the precision of either the
 tensile strength or wood failure. The estimation of wood failure                   13. Keywords
 by the various participating laboratories was determined not to                       13.1 adhesive; bonded; dry use; finger joint; flexure; non-
 be a source of variation.                                                          structural; tension; wet use
    12.5 On the laboratory-made specimens, the main source of
                                                                                                       TABLE 5 Clear-Wood Tensile Precision
 imprecision was within, rather than between, the individual
                                                                                          Tensile Strength, psi                               14 500
 laboratories. This indicates that the primary sources of vari-                           CV %rA                                              46.2
 ability may be attributed to specimen factors such as wood                               CV %RB                                              61.6
 density, wood strength, wood-grain slope, and testing condi-                         A
                                                                                           Repeatability, coefficient of variation in percent (within a laboratory).
 tions.                                                                               B
                                                                                           Reproducibility, coefficient of variation in percent (between laboratories).




                                                                       APPENDIXES

                                                               (Nonmandatory Information)

                                                                   X1. REPORT FORMS

   X1.1 The following report forms in Fig. X1.1, Fig. X1.2,                         with the test adhesive pass the requirements of this specifica-
 and Fig. X1.4 are used to record test results and to provide an                    tion. A supplementary page is provided in Fig. X1.6 for
 easy reference to determine whether the specimens prepared                         recording information needed for interpretation of the results.




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                                                 FIG. X1.1 Modulus of Rupture, Dry Use and Wet Use




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                                        FIG. X1.2 Report Form for Finger Joints—Tension, Dry Use (Part 1)




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                                 FIG. X1.2 Report Form for Finger Joints—Tension, Dry Use (Part 2) (continued)




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                                        FIG. X1.4 Report Form for Finger Joints—Tension, Wet Use (Part 1)




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                                 FIG. X1.4 Report Form for Finger Joints—Tension, Wet Use (Part 2) (continued)




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                                     FIG. X1.6 Supplementary Information for Use With Fig. X1.2 and Fig. X1.4



                                                      X2. EXCERPTS FROM PRACTICE E 177

    X2.1 Several terms that are used in this specification are                        X2.1.2 precision, n— a generic concept related to the
 defined in Practice E 177 and are shown as follows for                             closeness of agreement between test results obtained under
 reference. The subsection number from Practice E 177 is                            prescribed like conditions from the measurement process being
 shown following the definition.                                                    evaluated. (See X1.1.5 of Practice E 177.)
   X2.1.1 bias, n—a generic concept related to a consistent or                        X2.1.3 repeatability, n—a general term for a measure of
 systematic difference between a set of test results from the                       precision applicable to the variability between test results
 process and an accepted reference value of the property being                      obtained within a single laboratory in the shortest practical
 measured. (See X1.1.3 of Practice E 177.)                                          period of time by a single operator with a specific set of test

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                                                           D 5572 – 95 (Reappproved 1999)
 apparatus using test specimens taken at random from a single                       sponding standard deviation(s) or percent coefficient of varia-
 sample of material. (See X1.1.6 of Practice E 177.)                                tion ( CV %) shall be indicated. (See 28.1 of Practice E 177.)
   X2.1.4 reproducibility, n—a general term for a measure of                           X2.2.3 Recommended Terminology for Preferred Indexes
 precision applicable to the variability between single test                        —r = 95 % repeatability limit, and R = 95 % reproducibility
 results obtained in different laboratories using test specimens                    limit.
 taken at random from a single sample of material. (See X1.1.7                         X2.2.3.1 To help prevent confusion between the r and R, use
 of Practice E 177.)                                                                r = 95 % repeatability limit (within a laboratory), and R = 95 %
    X2.2 The following excerpts from Practice E 177 express                         reproducibility limit (between laboratories).
 indexes in percent, and also explain both the preferred types of                      X2.2.3.2 Similarly, the recommended terminology for the
 precision and the preferred indexes, as well as the recom-                         corresponding standard deviations is: sr = repeatability stan-
 mended terminology for preferred indexes. Note that CV %r                          dard deviation (within a laboratory), and s R = reproducibility
 and CV %R are larger than the coefficient of variation                             standard deviation (between laboratories). For the coefficients
 historically used. See Note 12.                                                    of variation CV %r = repeatability coefficient of variation in
    X2.2.1 Indexes in Percent—In some instances (see section                        percent (within a laboratory), and CV %R reproducibility coef-
 28.5 of Practice E 177) there may be some advantage in                             ficient of variation in percent (between laboratories).
 expressing the precision index as a percentage of the average                      where:
 test results; that is, percent coefficient of variation (CV %). The                r = 1.960 =2 sr = 2.8 s r or r = 1.960 2CV %r − 2.8CV %r, and
 notation may then be (CV %) (2CV %), (d2CV %), etc. (See                           R = 1.960 = 2 sR = 2.8 sR or R = 1.960 2CV %R = 2.8CV %R
 27.3.5 of Practice E 177.)                                                            depending on how the indexes vary with the test level (see
    X2.2.2 Preferred Types of Precision and Preferred                               section 28.5 of Practice E 177).
 Indexes—The types of precision described in 23.1.3 and 25.1,                          X2.2.3.3 For other than the preferred types, the more
 namely, repeatability and reproducibility, are the preferred                       general terminology “95 % limit” may be used with the sources
 types of precision statements for ASTM test methods. The                           of variability, for example: 95 % limit (operator-to-operator,
 preferred index for each of these types is the 95 % limit on the                   within-laboratory), and similarly for the corresponding stan-
 difference between the two test results (see section 27.3.3 of                     dard deviation: operator-to-operator within laboratory standard
 Practice E 177), namely, 2.8 s or 2.8 CV %. Also the corre-                        deviation (see section 28.2 of Practice E 177).


                                                   X3. EXCERPT FROM TEST METHOD D 4688


    X3.1 The following excerpt was taken from Annex A1 of                             X3.1.2 Failure Modes 1 and 2 require the evaluator to make
 Test Method D 4688. Although it was mandatory information                          a distinction between less than 70 % wood failure and more
 in Test Method D 4688, it is published here as nonmandatory                        than 70 % wood failure. This is often a difficult quantity to
 background information on the various classifications of wood                      judge from an oblique angle. In difficult cases it is suggested
 failure in finger joints broken in tension:                                        that the fingers be cut off at their roots so that the failed
    X3.1.1 The types of failure that occur in finger-jointed                        surfaces of the finger can be viewed directly.
 specimens due to tension loading may be roughly classified
 into six modes. Determine the failure mode of each specimen
 based on the written and graphical description given in Fig.
 X3.1.




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                                                               FIG. X3.1 Failure Mode Criteria



                                                      X4. EXCERPT FROM PRACTICE D 5266

   X4.1 The following excerpt was taken from the sections of                        such as knots, knotholes, burl, and voids in the bonded area.
 Practice D 5266 as shown, with the source of each sub-section                      (See 6.2 Test Method D 5266.)
 given following the text:                                                             X4.1.3 Procedure:
               Section                                 Heading                         X4.1.3.1 Work in a location where direct outside light does
                 5                       Apparatus
                 6                       Preparation of Specimen
                                                                                    not fall on the specimen. (See 7.1 of Test Method D 5266.)
                 7                       Procedure                                     X4.1.3.2 Select a light source and use it consistently. (See
                 8                       Evaluation of Wood Failure                 7.2 of Test Method D 5266.)
   NOTE X4.1—Practice D 5266 was written primarily with plywood or a                   X4.1.3.3 When reading wood failure on finger joints, hold
 laminate-bonded joint in mind, but many of the directions also apply to            the specimen with the length of the fingers perpendicular to the
 reading the wood failure of finger joints.                                         line between the light source and the eye. (See 7.4.3 of Test
   X4.1.1 Apparatus—A dual-element desk lamp equipped                               Method D 5266.)
 with one 15-W daylight and one 15-W cool white tube is                                X4.1.3.4 Dyes are sometimes helpful in distinguishing
 recommended as a light source. (See 5.1.1 of Test Method                           wood failure from light-colored adhesive. (See 7.6.1 of Test
 D 5266.)                                                                           Method D 5266.)
   X4.1.2 Preparation of Test Specimens—Do not estimate the                            X4.1.3.5 Magnification, rotation of the specimen, and varia-
 wood failure percentage of specimens with localized defects                        tion of the incident angle of the light on the surface are often

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                                                              D 5572 – 95 (Reappproved 1999)
 necessary to distinguish shallow wood failure from adhesive                               X4.1.4 Evaluation of Wood Failure:
 failure, especially when the adhesive is light colored or                                 X4.1.4.1 For accuracy and consistency special care must be
 transparent. Magnification may or may not be used to make the                          taken in the middle range from 30 to 85 %, where most of the
 actual estimate of wood failure, however the practice should be                        difficulty occurs. (See 8.1 of Test Method D 5266.)
 consistent. After rotation always reposition the specimen to the                          X4.1.4.2 The color of the adhesive and recognition of
 standard position before making the estimate of wood failure.                          shallow wood failure affect the estimate. (See 8.2 of Test
 (See 7.6.2 of Test Method D 5266.)                                                     Method D 5266.)
    X4.1.3.6 Mentally divide the surface into quadrants for                                X4.1.4.3 If the percentage of wood failure is high and the
 estimating the areas of various forms of failure. (See 7.1 of Test                     failure is mostly on the side of the adhesive layer, the grain
 Method D 5266.)                                                                        orientation may be a factor. (See 8.3 of Test Method D 5266.)
    X4.1.3.7 Estimate total wood-fiber failure of each specimen                            X4.1.4.4 Record any indications of poor spread, lack of
 to the nearest 5 %, with a maximum of 100 % of the total                               adhesive transfer, or other bonding problems. (See 8.4 of Test
 bonded test area. (See 7.11 of Test Method D 5266.)                                    Method D 5266.)

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                      EXHIBIT 5
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 8                                      UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   ROBERT and LINDA HOEKMAN, on                            No. 2:14-cv-01581-TLN-KJN
     behalf of themselves and all others
12   similarly situated,
13                        Plaintiffs,                        ORDER GRANTING DEFENDANT’S
                                                             MOTION TO COMPEL ARBITRATION
14           v.                                              AND DISMISS
15   TAMKO BUILDING PRODUCTS, INC.,
16                        Defendant.
17

18           This matter is before the Court pursuant to Defendant Tamko Building Products, Inc.’s

19   (“Defendant” or “Tamko”) Motion to Compel Arbitration and Dismiss. (ECF No. 11.) Plaintiffs

20   Robert and Linda Hoekman (“Plaintiffs”) have filed an opposition to Defendant’s motion. (ECF

21   No. 17.) The Court has carefully considered the arguments raised in Defendant’s motion and

22   reply, as well as Plaintiffs’ opposition. For the reasons set forth below, the Court dismisses

23   Plaintiffs’ claims so that they may be addressed in arbitration as required by the arbitration clause

24   in the limited warranty (“Limited Warranty”) accompanying Defendant’s product.

25           I.       FACTUAL AND PROCEDURAL BACKGROUND

26           In February 2006, Plaintiffs had Tamko1 shingles installed on their home in Truckee,

27
     1
            Tamko Building Products, Inc. claims to be “a leading independent manufacturer of residential and
28   commercial building products[.]” (Compl., ECF No. 1 at ¶ 31.)
                                                            1
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 1   California by Truckee River Roofing. (Compl., ECF No. 1 at ¶ 21.) Plaintiffs allege that they

 2   purchased Defendant’s shingles instead of those from other manufacturers because of

 3   Defendant’s representations in its advertising and marketing materials, particularly that

 4   Defendant’s shingles would be free from defects for fifty years. (ECF No. 1 at ¶ 23.) Plaintiffs

 5   indicate that the packaged shingles were delivered directly into the care of the contractors

 6   working on their home. (ECF No. 17 at 10.) They argue, therefore, that they never saw nor

 7   agreed to any arbitration clause. (ECF No. 17 at 10.)

 8          In August 2013, Plaintiffs state that they discovered their shingles were severely cracking,

 9   blistering, and prematurely failing, and that there was significant granule loss on parts of their

10   roof. (ECF No. 1 at ¶ 24.) Plaintiffs allege that they contacted Defendant and received a

11   warranty claim form to be completed and returned along with photographs and other supporting

12   documentation. (ECF No. 1 at ¶ 25.) Plaintiffs further state that they promptly returned the

13   warranty claim form, complete with photographs, to Defendant on September 13, 2013. (ECF

14   No. 1 at ¶ 25.) On or about October 10, 2013, Plaintiffs state that they received a letter from

15   Defendant containing a “Tamko Warranty Claim Settlement Work Sheet[,]” a “Material

16   Certificate” that prorated forty squares of the same shingles Plaintiffs had purchased previously,

17   and a copy of the Limited Warranty. (ECF No. 1 at ¶ 26.) Plaintiffs also received a check for

18   one-hundred dollars, which they subsequently cashed. (Def. Mem. of Points and Authorities in

19   Supp. of Mot. to Compel and Dismiss, ECF No. 12 at 14.)

20          On July 3, 2014, Plaintiffs filed a class action complaint against Defendant seeking
21   declaratory, monetary, and injunctive relief for violations of California Business and Professions

22   Code Sections 17200 and 17500; a violation of the California Consumer Legal Remedies Act;

23   and negligence, negligent design, and negligence per se. (ECF No. 1.) Plaintiffs allege that

24   Tamko used less than the required amount of asphalt in its shingles, resulting in their premature

25   deterioration. (ECF No. 1 at ¶ 11.) Plaintiffs further contend that Tamko knew or should have

26   known of this defect, despite representations indicating that the product met industry standards.
27   (ECF No. 1 at ¶ 16.)

28          On September 15, 2014, Defendant filed the instant motion to compel arbitration and
                                                       2
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 1   dismiss Plaintiffs’ complaint on the grounds that Plaintiffs consented to Defendant’s Limited

 2   Warranty, which included an arbitration clause. (ECF No. 11.) Plaintiffs argue that they did not

 3   learn of the Limited Warranty until after they contacted Defendant about the damaged shingles in

 4   August 2013. (ECF No. 1 at ¶ 27.) They assert that, had they known about the Limited

 5   Warranty’s provisions, they would not have had Defendant’s shingles installed at their home.

 6   (ECF No. 1 at ¶ 28.)

 7          II.     STANDARD OF LAW

 8          “[T]he federal law of arbitrability under the Federal Arbitration Act (“FAA”) governs the

 9   allocation of authority between courts and arbitrators.” Cox v. Ocean View Hotel Corp., 533 F.3d

10   1114, 1119 (9th Cir. 2008). There is an “emphatic federal policy in favor of arbitral dispute

11   resolution.” Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 631 (1985). As

12   such, “any doubts concerning the scope of arbitrable issues should be resolved in favor of

13   arbitration, whether the problem at hand is the construction of the contract language itself or an

14   allegation of waiver, delay, or a like defense to arbitrability.” Id. at 626 (quoting Moses H.

15   Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25 (1983)).

16          Generally, in deciding whether a dispute is subject to an arbitration agreement, the Court

17   must determine: “(1) whether a valid agreement to arbitrate exists and, if it does, (2) whether the

18   agreement encompasses the dispute at issue.” Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207

19   F.3d 1126, 1130 (9th Cir. 2000). As such, the Court’s role “is limited to determining arbitrability

20   and enforcing agreements to arbitrate, leaving the merits of the claim and any defenses to the
21   arbitrator.” Republic of Nicaragua v. Standard Fruit Co., 937 F.2d 469, 479 (9th Cir. 1991).

22          “In determining the existence of an agreement to arbitrate, the district court looks to

23   ‘general state-law principles of contract interpretation, while giving due regard to the federal

24   policy in favor of arbitration.’” Botorff v. Amerco, No. 2:12-cv-01286, 2012 WL 6628952, at *3

25   (E.D. Cal. Dec. 19, 2012) (citing Wagner v. Stratton, 83 F.3d 1046, 1049 (9th Cir. 1996)). An

26   arbitration agreement may only “be invalidated by ‘generally applicable contract defenses, such
27   as fraud, duress, or unconscionability,’ but not by defenses that apply only to arbitration or that

28   derive their meaning from the fact that an agreement to arbitrate is at issue.” AT&T Mobility LLC
                                                       3
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 1   v. Concepcion, 131 S. Ct. 1740, 1748 (2011) (quoting Doctor’s Assocs. Inc. v. Casarotto, 517

 2   U.S. 681, 687 (1996)). Therefore, courts may not apply traditional contractual defenses like

 3   duress and unconscionability, in a broader or more stringent manner to invalidate arbitration

 4   agreements and thereby undermine FAA’s purpose to “ensur[e] that private arbitration

 5   agreements are enforced according to their terms.” Id. at 1748 (quoting Volt Info. Scis., Inc. v.

 6   Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S. 468, 478 (1989).

 7          If a court “. . . determines that an arbitration clause is enforceable, it has the discretion to

 8   either stay the case pending arbitration, or to dismiss the case if all of the alleged claims are

 9   subject to arbitration.” Delgadillo v. James McKaone Enters., Inc., No. 1:12-cv-1149, 2012 WL

10   4027019, at *3 (E.D. Cal. Sept. 12, 2012.) The plain language of the FAA provides that the Court

11   should “stay the trial of the action until such arbitration has been had in accordance with the terms

12   of the agreement . . . .” 9 U.S.C. § 3. However, “9 U.S.C. § 3 gives a court authority, upon

13   application by one of the parties, to grant a stay pending arbitration, but does not preclude

14   summary judgment when all claims are barred by an arbitration clause. Thus, the provision does

15   not limit the court’s authority to grant dismissal in the case.” Sparling v. Hoffman Constr. Co.,

16   864 F.2d 635, 638 (9th Cir. 1988).

17          III.    ANALYSIS

18          Defendant moves the Court for an order compelling Plaintiffs to submit their claims to

19   arbitration on an individual basis and to dismiss the proceeding. (ECF No. 12 at 5.)

20          Defendant argues that Plaintiffs’ Complaint should be dismissed because, by retaining the
21   Tamko shingles, Plaintiffs agreed to the mandatory arbitration clause that was printed on the

22   packaging as part of the Limited Warranty. (ECF No. 12 at 11.) Plaintiffs dispute that a valid

23   arbitration agreement exists. (ECF No. 17 at 3.) Therefore, as a threshold issue, the Court will

24   address Plaintiffs’ arguments to determine whether a valid arbitration agreement exists.

25                  A. Existence of a Valid Arbitration Agreement

26          In making a determination to compel arbitration, the Court “should apply ordinary state-
27   law principles that govern the formation of contracts.” Ingle v. Circuit City Stores, Inc., 328 F.3d
28   11656, 1170 (9th Cir. 2003). Under California law, a valid contract requires: (1) parties capable
                                                        4
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 1   of contracting; (2) mutual consent; (3) a lawful object; and (4) sufficient cause or consideration.
 2   Cal. Civ. Code § 1550. Plaintiffs argue that they did not consent to the terms of the Limited

 3   Warranty, including the arbitration agreement. Nevertheless, the Court finds the arbitration
     agreement enforceable for the following reasons.
 4
                                    1. Plaintiffs were aware or should have been aware of the arbitration
 5                                     agreement at the time of purchase.
 6            Plaintiffs argue that they were not aware of the arbitration terms at the time of purchase,
 7
     therefore they did not agree to them. (ECF No. 17 at 10.) They claim they were deprived of the
 8
     opportunity to view and reject the terms prior to purchase, because the terms were not presented
 9
     until the Tamko shingles had already been purchased and delivered. (ECF No. 17 at 10.)
10

11   However, Plaintiffs acknowledge having performed comparison shopping prior to their purchase

12   of Defendant’s shingles. (ECF No. 1 at ¶ 23.) Defendant argues that during this process of

13   comparison shopping, Plaintiffs became aware of the terms, and therefore agreed to them by
14
     proceeding with the purchase. (ECF No. 24 at 4.) The Court finds sufficient evidence to conclude
15
     that Plaintiffs became familiar with the terms of the Limited Warranty.
16
               In their Complaint, Plaintiffs state that “prior to purchase, [they] compared Tamko’s
17
     shingles to those of other manufacturers and decided to purchase Tamko shingles based on the
18

19   representations contained in advertising and marketing materials, specifically that the shingles

20   would be free from defects for fifty years.” (ECF No. 1 at ¶ 23.) According to the declaration2
21   Defendant submitted in support of its motion, these marketing materials contained references to
22
     the Limited Warranty, and directed readers to the Tamko website in order to view its full terms.3
23

24   2
      Defendant submits the declaration of Titia Miller (ECF No. 19) as support for its motion to compel arbitration. The
     declaration makes a number of assertions regarding Tamko’s warranties and marketing materials, apparently based
25   on Ms. Miller’s expertise as Corporate Manager for Customer Service and Sales Administration.
26   3
       Defendant includes a brochure, which the declaration asserts is identical to the brochure Tamko used during 2005,
     the year Plaintiffs purchased their shingles. (ECF No. 19 at ¶ 16.) On the final page of the brochure, readers are
27   advised to either contact a Tamko representative or visit the Tamko website in order to view the terms of the Limited
     Warranty. (ECF No. 12, Attach. 5 at 9.) Plaintiffs specifically reference using Tamko brochures during the process
28   of shopping for the shingles. (ECF No. 1 at ¶ 22.)
                                                               5
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 1   (ECF No. 19 at ¶ 9–10, 12.) While there is no direct evidence that Plaintiffs viewed the terms as
 2   provided on Tamko’s website, Plaintiffs’ own statements indicate that Plaintiffs knew or should
 3
     have known about the Limited Warranty prior to purchase. For example, Plaintiffs claim in the
 4
     Complaint that Tamko represented its shingles as being “free of defects for 50 years” (ECF No. 1
 5
     at ¶ 7), Defendant counters that “[r]eferences that TAMKO has made to the term ‘50 years’ in its
 6

 7   advertisements and marketing materials are in the context of advertising its ‘50-Year Limited

 8   Warranty.’” (ECF No. 19 at ¶ 14.)

 9           The evidence indicates that Plaintiffs had notice of the Limited Warranty governing the
10   shingles when they viewed the marketing materials and then proceeded to make the purchase.
11
     Such conduct suggests an agreement to the terms. “[A] ‘contract for sale of goods may be made
12
     in any manner sufficient to show agreement, including conduct by both parties which recognizes
13
     the existence of such a contract.’” Arizona Cartridge Remanufacturers Ass’n, Inc. v. Lexmark
14

15   Int’l, Inc., 421 F.3d 981, 987 (9th Cir. 2005) (quoting Cal. Com.Code § 2204(1)). Whether or not

16   the Plaintiffs actually read the warranty is irrelevant. Hill v. Gateway 2000, Inc., 105 F.3d 1147,

17   1148 (7th Cir. 1997) (“A contract need not be read to be effective; people who accept [the
18
     contract] take the risk that the unread terms may in retrospect prove unwelcome.”). By their own
19
     admission, Plaintiffs reviewed marketing materials that contained references to the Limited
20
     Warranty and information about how to locate its terms. “The party seeking to compel arbitration
21
     bears the burden of establishing the existence of an agreement to arbitrate by a preponderance of
22

23   the evidence.” Johnson v. Long John Silver’s Restaurants, Inc., 320 F. Supp. 2d 656, 664 (M.D.

24   Tenn. 2004) aff’d, 414 F.3d 583 (6th Cir. 2005); Toal v. Tardif, 178 Cal. App. 4th 1208, 1219
25   (2009). The Court finds by a preponderance of the evidence that Defendant has shown Plaintiffs
26
     knew or should have known about the arbitration agreement prior to purchase, and therefore
27
     accepted its terms by making the purchase.
28
                                                      6
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 1                              2. Defendant offers sufficient evidence for the existence of the terms
                                   on the shingles.
 2
            Even if Plaintiffs did not have notice of the terms of the Limited Warranty prior to
 3

 4   purchase, the arbitration agreement is still enforceable. First, there is sufficient evidence that an

 5   arbitration agreement accompanied the shingles delivered to the contractors.

 6          Defendant provided three versions of the Limited Warranty that accompanied its shingles
 7
     throughout different years. Plaintiffs argue that Defendant cannot establish which of the three
 8
     versions of the Limited Warranty accompanied the shingles that were installed on their home.
 9
     (ECF No. 17 at 17–19.) One of the versions, which states that it applies to all shingles sold after
10
     January 1, 2003, does not contain the arbitration agreement. (ECF No. 17, Attach 7.) Plaintiffs
11

12   suggest that this could have been the version that accompanied the shingles installed on their

13   home. The two other versions purport to apply to all Tamko shingles sold after December 1,
14   2004, and December 1, 2005, respectively. (ECF No. 17, Attach. 6–7.) Except for the dates,
15
     these latter two versions are identical, and both contain the mandatory arbitration agreement.
16
            The shingles were installed on Plaintiffs’ home in February, 2006. Though neither party
17
     provides a date of purchase, it is more likely than not that the Limited Warranty on the
18

19   Hoekman’s shingles was one of the two later versions, either of which would have contained the

20   mandatory arbitration agreement. Defendants attached a declaration in support of this conclusion.

21   (Declaration of Titia Miller, ECF No. 19.) The declaration states that “TAMKO’s entire limited
22   warranty agreement, which includes a mandatory arbitration clause, is printed on the outside of
23
     every package of TAMKO shingles—including the TAMKO Heritage 50 Shingles purchased by
24
     the Hoekmans.” (ECF No. 19 at ¶ 10.) The declaration identifies the 2004 warranty, which was
25
     attached to the Motion to Compel Arbitration, as having been printed on the Hoekman’s shingles.
26
27   (ECF No. 19 at ¶ 9.) Defendant has proved by a preponderance of the evidence that the

28   Hoekman’s shingles were accompanied by the mandatory arbitration agreement.
                                                       7
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 1                                  3. Defendant offers sufficient evidence that the terms are properly
                                       presented.
 2

 3
              Plaintiffs argue that as the “ultimate purchasers” of the shingles, their pre-purchase
 4
     acceptance of the terms was somehow required.4 (ECF No. 17 at 10.) However, case law
 5
     indicates that whether or not the purchaser reads the terms included with the product, either
 6
     before or after purchase, such terms are enforceable.
 7

 8            The terms of the arbitration clause were printed on the outside of each package of Tamko

 9   shingles. (ECF No. 19 at ¶ 10.) Numerous cases support the validity of this method of providing
10   arbitration terms post-purchase, which is comparable to the shrinkwrap licenses that frequently
11
     accompany purchases of computer software.5 In general, “contracts contained in [] boxes…are
12
     no less enforceable than any other kind of contract.” Novell, Inc. v. Unicom Sales, Inc., No. 03-
13
     cv-2785 MMC, 2004 WL 1839117, at *11 (N.D. Cal. Aug. 17, 2004) (citing ProCD, Inc. v.
14

15   Zeidenberg, 86 F.3d 1447, 1449 (7th Cir. 1996)). “The weight of authority…is that shrinkwrap

16   licenses are enforceable.” Datel Holdings Ltd. v. Microsoft Corp., 712 F.Supp.2d 974, 989 (N.D.

17   Cal. 2010). Courts have repeatedly upheld arbitration provisions that come in the form of
18   shrinkwrap agreements. See, e.g., Herron v. Best Buy Stores, Inc., 924 F.Supp.2d 1161 (E.D. Cal.
19
     2014). In light of this precedent, the Court concludes that Tamko delivered the arbitration
20
     agreement in a legally valid manner.
21
              Plaintiffs also argue that the arbitration agreement is not enforceable because its terms
22

23
     4
       Plaintiffs make this argument on the basis of the holding in Arizona Cartridge Remanufacturers Ass’n, Inc. v.
24
     Lexmark Int’l, Inc., 421 F.3d 981 (9th Cir. 2005). In Arizona Cartridge, the Ninth Circuit upheld the terms printed on
     the outside of an ink cartridge box, in part because buyers had an opportunity to view them prior to purchase. Id. at
25   987.
26   5
       “The ‘shrinkwrap license’ gets its name from the fact that retail software packages are covered in plastic or
     cellophane ‘shrinkwrap,’ and some vendors…have written licenses that become effective as soon as the customer
27   tears the wrapping from the package.” ProCD, Inc. v. Zeidenberg, 86 F.3d 1447, 1449 (7th Cir. 1996). Typically,
     the shrinkwrap license is contained on the outside of the product’s packaging, or contained within the box. See Datel
28   Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 988 (N.D. Cal. 2010); ProCD, 86 F.3d at 1449.
                                                               8
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 1   were not “clearly marked” on the packaging and that they cannot be found to have consented to
 2   language they could not reasonably have been expected to read. (ECF No. 17 at 10.) The Court
 3
     finds no specific standard for the visibility of terms appearing on packaging. Ultimately,
 4
     Plaintiffs are disputing the conspicuousness of the arbitration agreement, so the Court looks to the
 5
     California Commercial Code’s definition of the term. “Conspicuous,” with reference to a term,
 6

 7   means so written, displayed, or presented that a reasonable person against which it is to operate

 8   ought to have noticed it.” Cal. Com. Code § 1201. The Code also provides that “[w]hether a

 9   term is ‘conspicuous’ or not is a decision for the court.” Id. As it appears on copies of the
10   Limited Warranty provided by Defendant, the arbitration agreement satisfies this definition.
11
     (ECF No. 12, Attach. 1–4.) Within the most prominent section of the label, a warning in large
12
     type references the warranty and states that it is printed elsewhere on the wrapper. (ECF No. 12,
13
     Attach. 3.) In a nearby section of the label, the heading ‘Mandatory Binding Arbitration’ appears
14

15   in boldface type, with a description of the terms immediately underneath. (ECF No. 12, Attach.

16   4.)

17           The Court finds that the terms were sufficiently visible to satisfy the unofficial standard
18
     set by previous cases.6 The Court therefore holds that the terms of the arbitration provision were
19
     presented in such a way as to create an enforceable agreement when the shingles were received
20
     and retained by Plaintiffs’ contractors.7
21
     ///
22

23   6
      Furthermore, the Supreme Court held in Doctor’s Associates, Inc. v. Casarotto, 517 U.S. 681, 688 (1996), that the
     Federal Arbitration Act preempted a state law setting special prominence requirements on arbitration clauses.
24
     Therefore, Plaintiffs’ argument that the arbitration agreement was not adequately conspicuous is based on a standard
     of their own creation and is thus unavailing.
25
     7
       Defendant argues an alternative basis for finding that Plaintiffs agreed to the Limited Warranty. Defendant claims
26   that by submitting a Limited Warranty Claim Form after experiencing issues with their Tamko shingles, Plaintiffs
     indicated their acceptance of the Limited Warranty’s terms, including the arbitration agreement. (ECF No. 12 at 13.)
27   Plaintiffs also endorsed and cashed the $100 check they received in return, which Defendant argues constituted their
     acceptance of a full settlement of their claim. (ECF No. 12 at 13.) The Court takes note but reserves ruling on
28   whether these actions by Plaintiffs were sufficient to establish a valid agreement.
                                                              9
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 1                              4. Contractor’s knowledge of the arbitration agreement is imputed to
                                   Plaintiffs.
 2

 3           Plaintiffs further maintain that because they did not personally view the arbitration

 4   agreement, it does not bind them. (ECF No. 17 at 10.) Defendant counters that Plaintiffs

 5   consented to the agreement through their contractor. (ECF No. 24 at 4.) Relying on Cal. Civ.
 6   Code § 2332, Defendant argues that the contractor’s role as Plaintiffs’ agent meant that his
 7
     knowledge of the agreement was imputed to them. (ECF No. 24 at 3–4.) See Cal. Civ. Code §
 8
     2332 (“As against a principal, both principal and agent are deemed to have notice of whatever
 9
     either has notice of, and ought, in good faith and the exercise of ordinary care and diligence, to
10

11   communicate to the other.”); Faires v. Title Ins. & Trust Co., 15 Cal. App. 2d 350, 354 (1936)

12   (“Knowledge acquired by an agent during the agency and within its scope is imputed to the

13   principal.”).
14
             “An agent is one who represents another…in dealings with third persons.” Zimmerman v.
15
     Superior Court, 220 Cal. App. 4th 389, 401 (2013) (quoting Cal. Civ. Code § 2295). Despite the
16
     lack of detail in the pleadings, the Court infers from the Complaint that Truckee River Roofing
17
     was working directly for and on behalf of Plaintiffs when it received, opened, and installed the
18

19   roofing tiles. (ECF No. 1 at ¶ 21.) Plaintiffs indicate that they intended the shingles to be

20   delivered directly into the care of Truckee River Roofing. (ECF No. 17 at 10–11.) By entrusting
21   the receipt and installation of the shingles to Truckee River Roofing, Plaintiffs indicated that they
22
     were authorizing their contractor to represent them in their receipt of the shingles from Tamko.
23
     The Court finds this evidence sufficient to establish implied agency between Plaintiffs and their
24
     contractors. Zimmerman, 220 Cal. App. 4th at 401 (“Agency may be implied based on conduct
25

26   and circumstances.”); Whittaker v. Otto, 188 Cal. App. 2d 619, 622–23 (Ct. App. 1961) (“Agency

27   may… be proven by circumstantial evidence, including evidence of the acts of the parties[.]”).

28   Within the scope of the receipt and installation of the shingles, Truckee River Roofing was indeed
                                                      10
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 1   acting as an agent for Plaintiffs.
 2           Because the Court finds that an agreement was established between Tamko and the
 3
     contractor when the packaged tiles were delivered, the agreement binds Plaintiffs as well. “It is
 4
     also well-settled law in this state that notice given to or possessed by an agent within the scope of
 5
     his employment and in connection with, and during his agency is notice to the principal.” Early
 6

 7   v. Owens, 109 Cal. App. 489, 494 (1930). That the contractor did not convey the terms of the

 8   Limited Warranty to Plaintiffs is moot. “The fact that he may or may not have reported this

 9   information to his principal is immaterial, for he was acting in the course of his employment and
10   the principal was charged with knowledge of information acquired by him in the transaction of
11
     her business.” Granberg v. Turnham, 166 Cal. App. 2d 390, 395 (1958).
12
             Defendant provides reference to two recent cases in which courts have upheld this
13
     particular arbitration agreement. In Krusch v. TAMKO Bldg. Products, Inc., 34 F. Supp. 3d 584,
14

15   594 (M.D.N.C. 2014), the district court found that the plaintiff had agreed to the arbitration clause

16   because he had constructive notice through his contractor, who the court held was acting as his

17   agent. Tamko had produced evidence that the plaintiff’s contractor had received a sample shingle
18
     that was stamped with language referencing the Limited Warranty, as well as brochures. Id. at
19
     589.
20
             In Overlook Terraces, Ltd. V. TAMKO Building Products, Inc., No. 3:14-cv-00241-CRS,
21
     slip op. (W.D. Ky. July 27, 2015), a Kentucky district court held that the terms of the limited
22

23   warranty were binding on the building owner, despite their lack of actual knowledge.8 The court

24   noted that the language of the warranty specifically applies to the owner of the building upon
25   which the shingles were installed. (ECF No. 32, Attach. 1 at 7.) Therefore, the owner had the
26
27   8
      The Report and Recommendation made by the magistrate judge (ECF No. 32, Attach. 1) were adopted in full by
     Senior Judge Charles R. Simpson III on July 27, 2015. Judge Simpson’s Order, which compels binding arbitration
28   and stays the proceedings, is included in Defendant’s notice of supplemental authority. (ECF No. 33.)
                                                           11
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 1   burden of proving that the arbitration agreement should not apply. The district court found that
 2   the owner failed to meet this burden, rejecting the plaintiff’s arguments that he received
 3
     insufficient notice of the agreement and that Tamko had waived its right to enforce it. (ECF No.
 4
     32, Attach. 1 at 7.)
 5
             In these two cases, district courts upheld the arbitration agreement when contractors
 6

 7   shopped for and eventually installed the shingles without the owner-plaintiffs ever seeing the

 8   marketing materials or the warranty. Here, Plaintiffs’ connection to the Limited Warranty is even

 9   closer, because they personally shopped for and purchased the shingles. The aforementioned
10   Tamko cases, in addition to general principles of agency, provide sufficient support for the
11
     enforcement of the arbitration agreement. Holding for the Plaintiffs would mean that purchasers
12
     can deny unwanted terms, as long as they avoid reading them prior to purchase and then have the
13
     product delivered to someone else. With good reason, prior courts have rejected this outcome.
14

15   Similarly, this Court finds that Plaintiffs’ alleged lack of actual notice is not enough to overturn

16   the valid arbitration agreement.

17
                      B. The Instant Dispute is within the Scope of that Agreement
18
             Given the Court’s finding that there is a valid arbitration agreement, the question then
19
     becomes “whether the agreement encompasses the dispute at issue.” Chiron Corp. v. Ortho
20
     Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). Although Plaintiffs argue there was
21
     not a valid arbitration agreement, they do not contest that if the Court were to find an agreement
22
     their claims would fall within its scope.
23
             The Limited Warranty requires Plaintiffs and Defendant to arbitrate “every claim,
24
     controversy, or dispute of any kind whatsoever…relating to or arising out of the shingles or this
25
     limited warranty[.]” (ECF No. 12 at 6.) Plaintiffs’ claims arise out of both the shingles
26
     themselves and Tamko’s representations of them.9 Because the broad language of the arbitration
27
     9
      Plaintiffs allege violations of the California Unfair Competition Law (Cal. Bus. & Prof. Code § 17200), the
28   California False Advertising Law (Cal. Bus. & Prof. Code § 17500), and the California Consumer Legal Remedies
                                                           12
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 1   agreement encompasses any claims “relating to or arising out of” the shingles, all aspects of the

 2   instant dispute fall within its scope.

 3           The Limited Warranty also contains a provision that requires Plaintiffs to arbitrate

 4   individually and prohibits Plaintiffs from seeking class treatment without a previous written

 5   agreement between Defendant and Plaintiffs. (ECF No. 12 at 6.) Class action waivers contained

 6   within arbitration agreements are valid and enforceable. See generally AT&T Mobility LLC v.

 7   Concepcion, 131 S. Ct. 1740 (2011). Therefore, Plaintiffs must pursue their claims on an

 8   individual basis through arbitration.

 9                    C. The Arbitration Agreement is Not Unconscionable

10           Plaintiffs argue that the arbitration agreement is unenforceable on the basis of
11
     unconscionability. (ECF No. 17 at 5.) California courts apply a “sliding scale” analysis in
12
     making determinations of unconscionability: “the more substantively oppressive the contract
13
     term, the less evidence of procedural unconscionability is required to come to the conclusion that
14
     the term is unenforceable and vice versa.” Kilgore v. Keybank, Nat’l Ass’n, 673 F.3d 947, 963
15

16   (9th Cir. 2012) (quoting Armendariz v. Found. Health Psychcare Servs., Inc., 24 Cal. 4th 83, 114

17   (2000)). “No matter how heavily one side of the scale tips, however, both procedural and
18   substantive unconscionability are required for a court to hold an arbitration agreement
19
     unenforceable.” Kilgore, 673 F.3d at 963 (quoting Armendariz, 24 Cal. 4th at 89). The Court
20
     must apply this balancing test to determine if the arbitration agreement is unenforceable. As the
21
     party opposing arbitration, Plaintiffs bear the burden of proving unconscionability by a
22

23   preponderance of the evidence. Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 972

24   (1997). The Court finds Plaintiffs have not met this burden for the following reasons.

25                                  1. Procedural Unconscionability
26           Plaintiffs assert that the arbitration agreement is procedurally unconscionable because
27
     Act, as well as negligence. (ECF No. 1 at 2.) They file a class action seeking damages and declaratory relief on
28   behalf of themselves and others similarly situated. (ECF No. 1 at ¶ 37.)
                                                              13
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 1   they were not presented with its terms prior to purchase. (ECF No. 17 at 8.) They claim they did
 2   not receive a copy of the Limited Warranty until it was mailed to them in 2013 as part of Tamko’s
 3
     settlement offer package. (ECF No. 17 at 8.)10 In evaluating procedural unconscionability under
 4
     California law, courts “focu[s] on the factors of surprise and oppression in the contracting
 5
     process, including whether the contract was one drafted by the stronger party and whether the
 6

 7   weaker party had an opportunity to negotiate.” Pokorny v. Quixtar, 601 F.3d 987, 996 (9th Cir.

 8   2010).

 9            Oppression arises “from an inequality of bargaining power [that] results in no real
10   negotiation and an absence of meaningful choice.” Circuit City Stores, Inc. v. Mantor, 335 F.3d
11
     1101, 1106 (9th Cir. 2003) (quoting Stirlen v. Supercuts, Inc., 51 Cal. App. 4th 1519, 1532
12
     (1997)). As a standardized contract, the terms of which Plaintiffs had no opportunity to negotiate,
13
     the Limited Warranty is by nature an adhesion contract. Therefore, it is at least moderately
14

15   procedurally unconscionable under California law. Bridge Fund Capital Corp. v. Fastbucks

16   Franchise Corp., 622 F.3d 996, 1004 (9th Cir. 2010) (“California law treats contracts of

17   adhesion, or at least terms over which a party of lesser bargaining power had no opportunity to
18
     negotiate, as procedurally unconscionable to at least some degree.”).
19
                      The lack of a “surprise” element prevents the Court from finding substantial
20
     procedural unconscionability. Surprise “involves the extent to which the contract clearly
21
     discloses its terms as well as the reasonable expectations of the weaker party,” Chavarria v.
22

23   Ralphs Grocery Co., 733 F.3d 916, 922 (9th Cir. 2013). As described above, the arbitration

24   agreement was clearly visible and provided in a manner consistent with similar agreements
25

26   10
       Rather than perform their own procedural analysis, Plaintiffs advocate for the Court to accept the reasoning of a
     South Carolina district court that recently found Tamko’s warranty unconscionable in One Bell Hall Property
27   Owners Association, Inc., et al., v. Trammell Crow Residential Company, et al., No. 2012-CP-10-7594. (ECF No.
     17, Attach. 1.) In One Belle Hall, the court found that numerous sections of the Limited Warranty were
28   unconscionable, focusing primarily on provisions that were unrelated to arbitration. (ECF No. 17, Attach. 1 at 3–4.)
                                                              14
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 1   previously upheld by courts. Additionally, Plaintiffs had the opportunity to view the entire
 2   Limited Warranty, including the arbitration agreement, prior to purchase. Therefore, the
 3
     agreement is not procedurally unconscionable.
 4
                                    2. Substantive Unconscionability
 5
              Plaintiffs argue that the arbitration agreement is substantively unconscionable because it
 6

 7   denies their right to a jury trial. (ECF No. 17 at 8.) In order to prove that this constitutes

 8   substantive unconscionability under California law, Plaintiffs must show that it leads to “‘overly

 9   harsh’ or ‘one-sided’ results.” See Bridge Fund Capital Corp. v. Fastbucks Franchise Corp., 622
10   F.3d 996, 1004 (9th Cir. 2010) (quoting Armendariz, 24 Cal. 4th at 114) (“[S]ubstantive
11
     unconscionability ‘focuses on ‘overly harsh’ or ‘one-sided’ results.’”). However, the instant
12
     arbitration agreement requires both parties to resolve all disputes through binding arbitration
13
     subject to the rules of the American Arbitration Association. (ECF No. 24 at 10.) Because both
14

15   parties must submit to arbitration, this Court finds that the arbitration terms are neither overly

16   harsh nor one-sided.11 Without such a finding, the Court cannot conclude that there is substantive

17   unconscionability.12
18
              In order to render an arbitration agreement unenforceable, California law requires a
19
     finding of both procedural and substantive unconscionability. Kilgore, 673 F.3d at 963. The
20
     arbitration agreement at issue fails to meet this standard. Accordingly, the Court holds that the
21
     arbitration agreement is enforceable.
22

23   11
       This Court held similarly in Morgan v. Xerox Corp., No. 2:13-CV-00409-TLN-AC, 2013 WL 2151656, at *4 (E.D.
     Cal. May 16, 2013), when it ruled that plaintiff’s waiver of the right to a jury trial was not unconscionable because
24
     the defendants had also waived that right.
25   12
        As additional support, Defendant points to two district court cases in which Tamko’s arbitration agreement was
     upheld. In Krusch v. TAMKO Bldg. Products, Inc., 34 F. Supp. 3d 584 (M.D.N.C. 2014), the court determined the
26   arbitration agreement was enforceable and granted Tamko’s motion to stay the proceedings. Similarly, in Mann v.
     TAMKO Bldg. Prods., Inc., No. 2008 CV 05392, slip op. at 11–12 (Ohio C.P. Ct. Apr. 30, 2009), an Ohio magistrate
27   judge rejected the plaintiff’s unconscionability arguments and granted Tamko’s motion to stay pending arbitration.
     Though not dispositive in the instant case, these decisions give additional weight to Defendant’s arguments against a
28   finding of unconscionability.
                                                              15
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 1                  D. Motion to Compel Arbitration and Dismiss
 2           Having concluded that a valid arbitration agreement exists and that the disputes are

 3   encompassed within the scope of the agreement, the Court must compel arbitration and either

 4   dismiss the action or stay the proceedings. A district court “has the discretion to either stay the

 5   case pending arbitration or to dismiss the case if all of the alleged claims are subject to

 6   arbitration.” Delgadillo v. James McKaone Enterprises, Inc., No. 1:12-CV-1149 AWI MJS, 2012

 7   WL 4027019, at *3 (E.D. Cal. Sept. 12, 2012). The Court concludes that all of Plaintiffs’ claims

 8   are subject to arbitration, and therefore dismisses Plaintiffs’ claims without prejudice.

 9           IV.    CONCLUSION

10           For the foregoing reasons, the Court GRANTS Defendant’s Motion to Compel

11   Arbitration, and DISMISSES Plaintiffs’ claims without prejudice so that they can be addressed in

12   arbitration.

13           IT IS SO ORDERED.

14   Dated: August 24, 2015

15

16
                                                                   Troy L. Nunley
17                                                                 United States District Judge

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